Fill in this information to identify your case:

United States Bankruptcy Court for the:

NORTHERN DISTRICT OF ALABAMA, EASTERN DIVISION

Case number (if known)                                                        Chapter you are filing under:
                                                                                 Chapter 7
                                                                                 Chapter 11
                                                                                 Chapter 12

                                                                                 Chapter 13                                        Check if this is an
                                                                                                                                   amended filing




Official Form 101
Voluntary Petition for Individuals Filing for Bankruptcy                                                                                                 12/22
The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case together—called a joint
case—and in joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, “Do you own a car,” the answer
would be yes if either debtor owns a car. When information is needed about the spouses separately, the form uses Debtor 1 and Debtor 2 to distinguish
between them. In joint cases, one of the spouses must report information as Debtor 1 and the other as Debtor 2. The same person must be Debtor 1 in
all of the forms.

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If
more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer
every question.


Part 1:   Identify Yourself

                                   About Debtor 1:                                                  About Debtor 2 (Spouse Only in a Joint Case):

1.   Your full name

     Write the name that is on     Steven                                                           Laura
     your government-issued        First name                                                       First name
     picture identification (for
     example, your driver's        Michael                                                          Gibson
     license or passport).         Middle name                                                      Middle name
     Bring your picture
     identification to your
                                   Puttonen                                                         Puttonen
     meeting with the trustee.     Last name and Suffix (Sr., Jr., II, III)                         Last name and Suffix (Sr., Jr., II, III)



2.   All other names you have
     used in the last 8 years
     Include your married or
     maiden names and any
     assumed, trade names and
                              Stephen M Puttonen
     doing business as names. Steve Puttonen
     Do NOT list the name of
     any separate legal entity
     such as a corporation,
     partnership, or LLC that is
     not filing this petition.


3.   Only the last 4 digits of
     your Social Security
     number or federal             xxx-xx-6428                                                      xxx-xx-0628
     Individual Taxpayer
     Identification number
     (ITIN)




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Debtor 1   Steven Michael Puttonen
Debtor 2   Laura Gibson Puttonen                                                                   Case number (if known)



                                 About Debtor 1:                                             About Debtor 2 (Spouse Only in a Joint Case):

     Your Employer
4.
     Identification Number
     (EIN), if any.
                                 EIN                                                         EIN



5.   Where you live                                                                          If Debtor 2 lives at a different address:

                                 370 Rushing Springs Rd.
                                 Lincoln, AL 35096
                                 Number, Street, City, State & ZIP Code                      Number, Street, City, State & ZIP Code

                                 Talladega
                                 County                                                      County

                                 If your mailing address is different from the one           If Debtor 2's mailing address is different from yours, fill it
                                 above, fill it in here. Note that the court will send any   in here. Note that the court will send any notices to this
                                 notices to you at this mailing address.                     mailing address.



                                 Number, P.O. Box, Street, City, State & ZIP Code            Number, P.O. Box, Street, City, State & ZIP Code




6.   Why you are choosing        Check one:                                                  Check one:
     this district to file for
     bankruptcy                        Over the last 180 days before filing this petition,          Over the last 180 days before filing this petition, I
                                       I have lived in this district longer than in any             have lived in this district longer than in any other
                                       other district.                                              district.

                                       I have another reason.                                       I have another reason.
                                       Explain. (See 28 U.S.C. § 1408.)                             Explain. (See 28 U.S.C. § 1408.)




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Debtor 2    Laura Gibson Puttonen                                                                         Case number (if known)



Part 2:    Tell the Court About Your Bankruptcy Case

7.   The chapter of the      Check one. (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy
     Bankruptcy Code you are (Form 2010)). Also, go to the top of page 1 and check the appropriate box.
     choosing to file under
                                Chapter 7
                                     Chapter 11
                                     Chapter 12

                                     Chapter 13



8.   How you will pay the fee            I will pay the entire fee when I file my petition. Please check with the clerk’s office in your local court for more details
                                         about how you may pay. Typically, if you are paying the fee yourself, you may pay with cash, cashier’s check, or money
                                         order. If your attorney is submitting your payment on your behalf, your attorney may pay with a credit card or check with
                                         a pre-printed address.
                                         I need to pay the fee in installments. If you choose this option, sign and attach the Application for Individuals to Pay
                                         The Filing Fee in Installments (Official Form 103A).
                                         I request that my fee be waived (You may request this option only if you are filing for Chapter 7. By law, a judge may,
                                         but is not required to, waive your fee, and may do so only if your income is less than 150% of the official poverty line that
                                         applies to your family size and you are unable to pay the fee in installments). If you choose this option, you must fill out
                                         the Application to Have the Chapter 7 Filing Fee Waived (Official Form 103B) and file it with your petition.



9.   Have you filed for             No.
     bankruptcy within the
     last 8 years?                  Yes.
                                                          Northern District of
                                              District    Alabama                       When     11/09/01               Case number      01-44093-JSS13
                                                          Northern District of
                                              District    Alabama                       When     3/19/96                Case number      96-01919-TOM7
                                              District                                  When                            Case number



10. Are any bankruptcy              No
    cases pending or being
    filed by a spouse who is        Yes.
    not filing this case with
    you, or by a business
    partner, or by an
    affiliate?
                                              Debtor                                                                   Relationship to you
                                              District                                  When                           Case number, if known
                                              Debtor                                                                   Relationship to you
                                              District                                  When                           Case number, if known



11. Do you rent your                No.        Go to line 12.
    residence?
                                    Yes.       Has your landlord obtained an eviction judgment against you?
                                                         No. Go to line 12.
                                                         Yes. Fill out Initial Statement About an Eviction Judgment Against You (Form 101A) and file it as part of
                                                         this bankruptcy petition.




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Debtor 2    Laura Gibson Puttonen                                                                          Case number (if known)



Part 3:    Report About Any Businesses You Own as a Sole Proprietor

12. Are you a sole proprietor
    of any full- or part-time         No.      Go to Part 4.
    business?
                                      Yes.     Name and location of business
     A sole proprietorship is a
     business you operate as                   Name of business, if any
     an individual, and is not a
     separate legal entity such
     as a corporation,
     partnership, or LLC.
     If you have more than one                 Number, Street, City, State & ZIP Code
     sole proprietorship, use a
     separate sheet and attach
     it to this petition.                      Check the appropriate box to describe your business:
                                                       Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                                       Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                                       Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                                       Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                                       None of the above

13. Are you filing under           If you are filing under Chapter 11, the court must know whether you are a small business debtor or a debtor choosing to
    Chapter 11 of the              proceed under Subchapter V so that it can set appropriate deadlines. If you indicate that you are a small business debtor or
    Bankruptcy Code, and           you are choosing to proceed under Subchapter V, you must attach your most recent balance sheet, statement of operations,
    are you a small business       cash-flow statement, and federal income tax return or if any of these documents do not exist, follow the procedure in 11 U.S.C.
    debtor or a debtor as          § 1116(1)(B).
    defined by 11 U.S. C. §            No.        I am not filing under Chapter 11.
    1182(1)?
    For a definition of small
                                      No.      I am filing under Chapter 11, but I am NOT a small business debtor according to the definition in the Bankruptcy
    business debtor, see 11
                                               Code.
    U.S.C. § 101(51D).

                                      Yes.     I am filing under Chapter 11, I am a small business debtor according to the definition in the Bankruptcy Code, and
                                               I do not choose to proceed under Subchapter V of Chapter 11.

                                      Yes.     I am filing under Chapter 11, I am a debtor according to the definition in § 1182(1) of the Bankruptcy Code, and I
                                               choose to proceed under Subchapter V of Chapter 11.

Part 4:    Report if You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention

14. Do you own or have any            No.
    property that poses or is
    alleged to pose a threat          Yes.
    of imminent and                          What is the hazard?
    identifiable hazard to
    public health or safety?
    Or do you own any
    property that needs                      If immediate attention is
    immediate attention?                     needed, why is it needed?

     For example, do you own
     perishable goods, or
     livestock that must be fed,             Where is the property?
     or a building that needs
     urgent repairs?
                                                                            Number, Street, City, State & Zip Code




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Debtor 2    Laura Gibson Puttonen                                                                      Case number (if known)

Part 5:    Explain Your Efforts to Receive a Briefing About Credit Counseling

                                     About Debtor 1:                                               About Debtor 2 (Spouse Only in a Joint Case):
15. Tell the court whether           You must check one:                                           You must check one:
    you have received a                  I received a briefing from an approved credit                 I received a briefing from an approved credit
    briefing about credit                counseling agency within the 180 days before I                counseling agency within the 180 days before I filed
    counseling.                          filed this bankruptcy petition, and I received a              this bankruptcy petition, and I received a certificate of
                                         certificate of completion.                                    completion.
     The law requires that you
     receive a briefing about            Attach a copy of the certificate and the payment              Attach a copy of the certificate and the payment plan, if
     credit counseling before            plan, if any, that you developed with the agency.             any, that you developed with the agency.
     you file for bankruptcy.
     You must truthfully check           I received a briefing from an approved credit                 I received a briefing from an approved credit
     one of the following                counseling agency within the 180 days before I                counseling agency within the 180 days before I filed
     choices. If you cannot do           filed this bankruptcy petition, but I do not have             this bankruptcy petition, but I do not have a certificate
     so, you are not eligible to         a certificate of completion.                                  of completion.
     file.
                                         Within 14 days after you file this bankruptcy                 Within 14 days after you file this bankruptcy petition, you
     If you file anyway, the court       petition, you MUST file a copy of the certificate and         MUST file a copy of the certificate and payment plan, if
     can dismiss your case, you          payment plan, if any.                                         any.
     will lose whatever filing fee
     you paid, and your                  I certify that I asked for credit counseling                  I certify that I asked for credit counseling services
     creditors can begin                 services from an approved agency, but was                     from an approved agency, but was unable to obtain
     collection activities again.        unable to obtain those services during the 7                  those services during the 7 days after I made my
                                         days after I made my request, and exigent                     request, and exigent circumstances merit a 30-day
                                         circumstances merit a 30-day temporary waiver                 temporary waiver of the requirement.
                                         of the requirement.
                                                                                                       To ask for a 30-day temporary waiver of the requirement,
                                         To ask for a 30-day temporary waiver of the                   attach a separate sheet explaining what efforts you made
                                         requirement, attach a separate sheet explaining               to obtain the briefing, why you were unable to obtain it
                                         what efforts you made to obtain the briefing, why             before you filed for bankruptcy, and what exigent
                                         you were unable to obtain it before you filed for             circumstances required you to file this case.
                                         bankruptcy, and what exigent circumstances
                                         required you to file this case.                               Your case may be dismissed if the court is dissatisfied
                                                                                                       with your reasons for not receiving a briefing before you
                                         Your case may be dismissed if the court is                    filed for bankruptcy.
                                         dissatisfied with your reasons for not receiving a
                                         briefing before you filed for bankruptcy.                     If the court is satisfied with your reasons, you must still
                                         If the court is satisfied with your reasons, you must         receive a briefing within 30 days after you file. You must
                                         still receive a briefing within 30 days after you file.       file a certificate from the approved agency, along with a
                                         You must file a certificate from the approved                 copy of the payment plan you developed, if any. If you do
                                         agency, along with a copy of the payment plan you             not do so, your case may be dismissed.
                                         developed, if any. If you do not do so, your case
                                                                                                       Any extension of the 30-day deadline is granted only for
                                         may be dismissed.
                                                                                                       cause and is limited to a maximum of 15 days.
                                         Any extension of the 30-day deadline is granted
                                         only for cause and is limited to a maximum of 15
                                         days.
                                         I am not required to receive a briefing about                 I am not required to receive a briefing about credit
                                         credit counseling because of:                                 counseling because of:

                                               Incapacity.                                                  Incapacity.
                                               I have a mental illness or a mental deficiency               I have a mental illness or a mental deficiency that
                                               that makes me incapable of realizing or                      makes me incapable of realizing or making rational
                                               making rational decisions about finances.                    decisions about finances.

                                               Disability.                                                  Disability.
                                               My physical disability causes me to be                       My physical disability causes me to be unable to
                                               unable to participate in a briefing in person,               participate in a briefing in person, by phone, or
                                               by phone, or through the internet, even after I              through the internet, even after I reasonably tried to
                                               reasonably tried to do so.                                   do so.

                                               Active duty.                                                 Active duty.
                                               I am currently on active military duty in a                  I am currently on active military duty in a military
                                               military combat zone.                                        combat zone.
                                         If you believe you are not required to receive a              If you believe you are not required to receive a briefing
                                         briefing about credit counseling, you must file a             about credit counseling, you must file a motion for waiver
                                         motion for waiver credit counseling with the court.           of credit counseling with the court.




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Debtor 2    Laura Gibson Puttonen                                                                         Case number (if known)

Part 6:    Answer These Questions for Reporting Purposes

16. What kind of debts do        16a.      Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8) as “incurred by an
    you have?                              individual primarily for a personal, family, or household purpose.”
                                               No. Go to line 16b.

                                               Yes. Go to line 17.
                                 16b.      Are your debts primarily business debts? Business debts are debts that you incurred to obtain
                                           money for a business or investment or through the operation of the business or investment.
                                               No. Go to line 16c.
                                               Yes. Go to line 17.
                                 16c.      State the type of debts you owe that are not consumer debts or business debts



17. Are you filing under            No.    I am not filing under Chapter 7. Go to line 18.
    Chapter 7?

     Do you estimate that           Yes.   I am filing under Chapter 7. Do you estimate that after any exempt property is excluded and administrative expenses
     after any exempt                      are paid that funds will be available to distribute to unsecured creditors?
     property is excluded and
     administrative expenses                   No
     are paid that funds will
     be available for                          Yes
     distribution to unsecured
     creditors?

18. How many Creditors do           1-49                                             1,000-5,000                                   25,001-50,000
    you estimate that you                                                            5001-10,000                                   50,001-100,000
    owe?                            50-99
                                    100-199                                          10,001-25,000                                 More than100,000
                                    200-999

19. How much do you                 $0 - $50,000                                     $1,000,001 - $10 million                      $500,000,001 - $1 billion
    estimate your assets to         $50,001 - $100,000                               $10,000,001 - $50 million                     $1,000,000,001 - $10 billion
    be worth?
                                    $100,001 - $500,000                              $50,000,001 - $100 million                    $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                   More than $50 billion


20. How much do you                 $0 - $50,000                                     $1,000,001 - $10 million                      $500,000,001 - $1 billion
    estimate your liabilities       $50,001 - $100,000                               $10,000,001 - $50 million                     $1,000,000,001 - $10 billion
    to be?
                                    $100,001 - $500,000                              $50,000,001 - $100 million                    $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                   More than $50 billion


Part 7:    Sign Below

For you                          I have examined this petition, and I declare under penalty of perjury that the information provided is true and correct.

                                 If I have chosen to file under Chapter 7, I am aware that I may proceed, if eligible, under Chapter 7, 11,12, or 13 of title 11,
                                 United States Code. I understand the relief available under each chapter, and I choose to proceed under Chapter 7.

                                 If no attorney represents me and I did not pay or agree to pay someone who is not an attorney to help me fill out this
                                 document, I have obtained and read the notice required by 11 U.S.C. § 342(b).

                                 I request relief in accordance with the chapter of title 11, United States Code, specified in this petition.

                                 I understand making a false statement, concealing property, or obtaining money or property by fraud in connection with a
                                 bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519,
                                 and 3571.
                                 /s/ Steven Michael Puttonen                                       /s/ Laura Gibson Puttonen
                                 Steven Michael Puttonen                                           Laura Gibson Puttonen
                                 Signature of Debtor 1                                             Signature of Debtor 2

                                 Executed on     May 15, 2024                                      Executed on     May 15, 2024
                                                 MM / DD / YYYY                                                    MM / DD / YYYY




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For your attorney, if you are   I, the attorney for the debtor(s) named in this petition, declare that I have informed the debtor(s) about eligibility to proceed
represented by one              under Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the relief available under each chapter
                                for which the person is eligible. I also certify that I have delivered to the debtor(s) the notice required by 11 U.S.C. § 342(b)
If you are not represented by   and, in a case in which § 707(b)(4)(D) applies, certify that I have no knowledge after an inquiry that the information in the
an attorney, you do not need    schedules filed with the petition is incorrect.
to file this page.
                                /s/ Carla M. Handy                                                 Date         May 15, 2024
                                Signature of Attorney for Debtor                                                MM / DD / YYYY

                                Carla M. Handy
                                Printed name

                                Bond, Botes & Handy, P.C.
                                Firm name

                                430-B Chestnut Street
                                Gadsden, AL 35901-4213
                                Number, Street, City, State & ZIP Code

                                Contact phone     256-485-0195                               Email address         btaylor@bondandbotes.com
                                ASB-2883-a31c AL
                                Bar number & State




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Fill in this information to identify your case:

Debtor 1                   Steven Michael Puttonen
                           First Name                           Middle Name                          Last Name

Debtor 2                   Laura Gibson Puttonen
(Spouse if, filing)        First Name                           Middle Name                          Last Name


United States Bankruptcy Court for the:                  NORTHERN DISTRICT OF ALABAMA, EASTERN DIVISION

Case number
(if known)                                                                                                                                                       Check if this is an
                                                                                                                                                                 amended filing



Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical Information                                                                                            12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.

Part 1:        Summarize Your Assets

                                                                                                                                                                Your assets
                                                                                                                                                                Value of what you own

1.     Schedule A/B: Property (Official Form 106A/B)
       1a. Copy line 55, Total real estate, from Schedule A/B................................................................................................   $             175,800.00

       1b. Copy line 62, Total personal property, from Schedule A/B.....................................................................................        $              65,673.00

       1c. Copy line 63, Total of all property on Schedule A/B...............................................................................................   $             241,473.00

Part 2:        Summarize Your Liabilities

                                                                                                                                                                Your liabilities
                                                                                                                                                                Amount you owe

2.     Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
       2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D...                                    $             229,530.00

3.     Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
       3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F.................................                          $                2,771.00

       3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F............................                            $              46,911.00


                                                                                                                                    Your total liabilities $               279,212.00


Part 3:        Summarize Your Income and Expenses

4.     Schedule I: Your Income (Official Form 106I)
       Copy your combined monthly income from line 12 of Schedule I................................................................................             $                5,170.33

5.     Schedule J: Your Expenses (Official Form 106J)
       Copy your monthly expenses from line 22c of Schedule J..........................................................................                         $                2,041.00

Part 4:        Answer These Questions for Administrative and Statistical Records

6.     Are you filing for bankruptcy under Chapters 7, 11, or 13?
            No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.

          Yes
7.     What kind of debt do you have?

               Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal, family, or
               household purpose.” 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

               Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit this form to
               the court with your other schedules.


Official Form 106Sum                    Summary of Your Assets and Liabilities and Certain Statistical Information                                                    page 1 of 2

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Debtor 2   Laura Gibson Puttonen                                                        Case number (if known)

8.   From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official Form
     122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                                              $         6,637.06


9.   Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:

                                                                                                       Total claim
     From Part 4 on Schedule E/F, copy the following:
     9a. Domestic support obligations (Copy line 6a.)                                                   $                  0.00

     9b. Taxes and certain other debts you owe the government. (Copy line 6b.)                          $              2,771.00

     9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)                $                  0.00

     9d. Student loans. (Copy line 6f.)                                                                 $                  0.00

     9e. Obligations arising out of a separation agreement or divorce that you did not report as
         priority claims. (Copy line 6g.)                                                               $                  0.00

     9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)            +$                  0.00


     9g. Total. Add lines 9a through 9f.                                                           $                 2,771.00




Official Form 106Sum                       Summary of Your Assets and Liabilities and Certain Statistical Information                        page 2 of 2

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Fill in this information to identify your case and this filing:

Debtor 1                    Steven Michael Puttonen
                            First Name                                 Middle Name                    Last Name

Debtor 2                    Laura Gibson Puttonen
(Spouse, if filing)         First Name                                 Middle Name                    Last Name


United States Bankruptcy Court for the:                      NORTHERN DISTRICT OF ALABAMA, EASTERN DIVISION

Case number                                                                                                                                                     Check if this is an
                                                                                                                                                                amended filing



Official Form 106A/B
Schedule A/B: Property                                                                                                                                         12/15
In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the category where you
think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known).
Answer every question.

Part 1: Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

       No. Go to Part 2.

       Yes. Where is the property?




1.1                                                                            What is the property? Check all that apply
       370 Rushing Springs Rd.                                                        Single-family home                         Do not deduct secured claims or exemptions. Put
       Street address, if available, or other description                                                                        the amount of any secured claims on Schedule D:
                                                                                      Duplex or multi-unit building
                                                                                                                                 Creditors Who Have Claims Secured by Property.
                                                                                      Condominium or cooperative

                                                                                      Manufactured or mobile home
                                                                                                                                 Current value of the      Current value of the
       Lincoln                           AL        35096-0000                         Land                                       entire property?          portion you own?
       City                              State              ZIP Code                  Investment property                               $175,800.00                $175,800.00
                                                                                      Timeshare
                                                                                                                                 Describe the nature of your ownership interest
                                                                                      Other                                      (such as fee simple, tenancy by the entireties, or
                                                                               Who has an interest in the property? Check one    a life estate), if known.
                                                                                      Debtor 1 only
       Talladega                                                                      Debtor 2 only
       County                                                                         Debtor 1 and Debtor 2 only
                                                                                                                                      Check if this is community property
                                                                                      At least one of the debtors and another         (see instructions)
                                                                               Other information you wish to add about this item, such as local
                                                                               property identification number:




2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for
   pages you have attached for Part 1. Write that number here...........................................................................=>                      $175,800.00


Part 2: Describe Your Vehicles

Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles you own that
someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.




Official Form 106A/B                                                                 Schedule A/B: Property                                                                  page 1



           Case 24-40556-JJR13                                   Doc 1         Filed 05/15/24 Entered 05/15/24 16:56:58                                    Desc Main
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Debtor 1         Steven Michael Puttonen
Debtor 2         Laura Gibson Puttonen                                                                             Case number (if known)

3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

        No
        Yes


  3.1    Make:      Toyota                                   Who has an interest in the property? Check one                  Do not deduct secured claims or exemptions. Put
                                                                                                                             the amount of any secured claims on Schedule D:
         Model:     Tundra Limited                              Debtor 1 only                                                Creditors Who Have Claims Secured by Property.
         Year:      2014                                        Debtor 2 only                                                Current value of the     Current value of the
         Approximate mileage:              165,082              Debtor 1 and Debtor 2 only                                   entire property?         portion you own?
         Other information:                                     At least one of the debtors and another


                                                                Check if this is community property                                  $23,700.00                 $23,700.00
                                                                 (see instructions)



  3.2    Make:      Nissan                                   Who has an interest in the property? Check one                  Do not deduct secured claims or exemptions. Put
                                                                                                                             the amount of any secured claims on Schedule D:
         Model:     Pathfinder SL                               Debtor 1 only                                                Creditors Who Have Claims Secured by Property.
         Year:      2015                                        Debtor 2 only
                                                                                                                             Current value of the     Current value of the
         Approximate mileage:              124,335              Debtor 1 and Debtor 2 only                                   entire property?         portion you own?
         Other information:                                     At least one of the debtors and another


                                                                Check if this is community property                                    $9,075.00                 $9,075.00
                                                                 (see instructions)




4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
   Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories

        No
        Yes



5 Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for
  .pages you have attached for Part 2. Write that number here.............................................................................=>                 $32,775.00


Part 3: Describe Your Personal and Household Items
Do you own or have any legal or equitable interest in any of the following items?                                                                   Current value of the
                                                                                                                                                    portion you own?
                                                                                                                                                    Do not deduct secured
                                                                                                                                                    claims or exemptions.
6. Household goods and furnishings
   Examples: Major appliances, furniture, linens, china, kitchenware
     No
        Yes. Describe.....

                                   Household goods & furnishings                                                                                                  $2,175.00


                                   Refrigerator financed with Conn's Home Plus                                                                                    $4,500.00


                                   Laptop financed through Conn's Home Plus                                                                                       $1,500.00


                                   Washer & Dryer under contract with Aaron's                                                                                           $0.00




Official Form 106A/B                                                   Schedule A/B: Property                                                                           page 2



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Debtor 1      Steven Michael Puttonen
Debtor 2      Laura Gibson Puttonen                                                                 Case number (if known)

7. Electronics
   Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music collections; electronic devices
              including cell phones, cameras, media players, games
      No
      Yes. Describe.....

                               Personal electronics                                                                                                $300.00


8. Collectibles of value
   Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects; stamp, coin, or baseball card collections;
               other collections, memorabilia, collectibles
      No
      Yes. Describe.....

9. Equipment for sports and hobbies
   Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes and kayaks; carpentry tools;
             musical instruments
      No
      Yes. Describe.....

10. Firearms
     Examples: Pistols, rifles, shotguns, ammunition, and related equipment
      No
      Yes. Describe.....

11. Clothes
    Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
      No
      Yes. Describe.....

                               Personal clothing                                                                                                   $400.00


12. Jewelry
     Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems, gold, silver
      No
      Yes. Describe.....

13. Non-farm animals
    Examples: Dogs, cats, birds, horses
      No
      Yes. Describe.....

14. Any other personal and household items you did not already list, including any health aids you did not list
     No
      Yes. Give specific information.....

                               HVAC financed with AL Power                                                                                       $8,500.00



15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached
    for Part 3. Write that number here ..............................................................................                      $17,375.00


Part 4: Describe Your Financial Assets
Do you own or have any legal or equitable interest in any of the following?                                                        Current value of the
                                                                                                                                   portion you own?
                                                                                                                                   Do not deduct secured
                                                                                                                                   claims or exemptions.



Official Form 106A/B                                         Schedule A/B: Property                                                                   page 3



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Debtor 1         Steven Michael Puttonen
Debtor 2         Laura Gibson Puttonen                                                                                            Case number (if known)

16. Cash
    Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition
      No
      Yes................................................................................................................

17. Deposits of money
    Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses, and other similar
                  institutions. If you have multiple accounts with the same institution, list each.
     No
     Yes........................                                     Institution name:


                                            17.1.       Checking                                Metro Bank                                                         $771.00


18. Bonds, mutual funds, or publicly traded stocks
    Examples: Bond funds, investment accounts with brokerage firms, money market accounts
      No
      Yes..................                           Institution or issuer name:

19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in an LLC, partnership, and
    joint venture
      No
      Yes. Give specific information about them...................
                                 Name of entity:                                                                                   % of ownership:

20. Government and corporate bonds and other negotiable and non-negotiable instruments
    Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
    Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.
      No
      Yes. Give specific information about them
                                  Issuer name:

21. Retirement or pension accounts
    Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans
      No
      Yes. List each account separately.
                              Type of account:                                                  Institution name:

22. Security deposits and prepayments
    Your share of all unused deposits you have made so that you may continue service or use from a company
    Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications companies, or others
      No
      Yes. .....................                                                                Institution name or individual:

23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)
      No
      Yes.............              Issuer name and description.

24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
    26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
      No
      Yes.............              Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):

25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers exercisable for your benefit
      No
      Yes. Give specific information about them...

26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
    Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
      No
      Yes. Give specific information about them...


Official Form 106A/B                                                                     Schedule A/B: Property                                                        page 4



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Debtor 1      Steven Michael Puttonen
Debtor 2      Laura Gibson Puttonen                                                                  Case number (if known)

27. Licenses, franchises, and other general intangibles
     Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses
      No
      Yes. Give specific information about them...

Money or property owed to you?                                                                                                      Current value of the
                                                                                                                                    portion you own?
                                                                                                                                    Do not deduct secured
                                                                                                                                    claims or exemptions.

28. Tax refunds owed to you
      No
      Yes. Give specific information about them, including whether you already filed the returns and the tax years.......



29. Family support
     Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
      No
      Yes. Give specific information......


30. Other amounts someone owes you
    Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation, Social Security
              benefits; unpaid loans you made to someone else
      No
      Yes. Give specific information..

31. Interests in insurance policies
     Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner’s, or renter’s insurance
      No
      Yes. Name the insurance company of each policy and list its value.
                               Company name:                                                Beneficiary:                             Surrender or refund
                                                                                                                                     value:

32. Any interest in property that is due you from someone who has died
    If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive property because
    someone has died.
      No
      Yes. Give specific information..


33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
    Examples: Accidents, employment disputes, insurance claims, or rights to sue
      No
      Yes. Describe each claim.........

                                             Personal injury case against Walmart; represented by
                                             Alexander Shunnarah
                                             Case was filed 3/3/2023 - value is based upon claim
                                             exemption but will be updated when value ascertained.                                              $14,752.00


                                             Federal Tax Refund 2021 - $1981.00 but this should be offset
                                             by tax debt owed                                                                                           $0.00


34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights to set off claims
      No
      Yes. Describe each claim.........

35. Any financial assets you did not already list
      No
      Yes. Give specific information..

Official Form 106A/B                                          Schedule A/B: Property                                                                    page 5



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Debtor 1         Steven Michael Puttonen
Debtor 2         Laura Gibson Puttonen                                                                                                 Case number (if known)

36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
    for Part 4. Write that number here.....................................................................................................................             $15,523.00


Part 5: Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

37. Do you own or have any legal or equitable interest in any business-related property?
      No. Go to Part 6.
      Yes. Go to line 38.



Part 6:    Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
           If you own or have an interest in farmland, list it in Part 1.


46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
          No. Go to Part 7.
          Yes. Go to line 47.


Part 7:          Describe All Property You Own or Have an Interest in That You Did Not List Above


53. Do you have other property of any kind you did not already list?
    Examples: Season tickets, country club membership
       No
       Yes. Give specific information.........


54. Add the dollar value of all of your entries from Part 7. Write that number here ....................................                                                     $0.00

Part 8:         List the Totals of Each Part of this Form

55. Part 1: Total real estate, line 2 ......................................................................................................................             $175,800.00
56. Part 2: Total vehicles, line 5                                                                           $32,775.00
57. Part 3: Total personal and household items, line 15                                                      $17,375.00
58. Part 4: Total financial assets, line 36                                                                  $15,523.00
59. Part 5: Total business-related property, line 45                                                              $0.00
60. Part 6: Total farm- and fishing-related property, line 52                                                     $0.00
61. Part 7: Total other property not listed, line 54                                             +                $0.00

62. Total personal property. Add lines 56 through 61...                                                      $65,673.00              Copy personal property total          $65,673.00

63. Total of all property on Schedule A/B. Add line 55 + line 62                                                                                                       $241,473.00




Official Form 106A/B                                                              Schedule A/B: Property                                                                        page 6



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Fill in this information to identify your case:

Debtor 1               Steven Michael Puttonen
                       First Name                     Middle Name                Last Name

Debtor 2               Laura Gibson Puttonen
(Spouse if, filing)    First Name                     Middle Name                Last Name


United States Bankruptcy Court for the:        NORTHERN DISTRICT OF ALABAMA, EASTERN DIVISION

Case number
(if known)                                                                                                                         Check if this is an
                                                                                                                                   amended filing


Official Form 106C
Schedule C: The Property You Claim as Exempt                                                                                                             4/22

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. Using
the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more space is
needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write your name and
case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount of
any applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt retirement
funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that limits the
exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption would be limited
to the applicable statutory amount.

Part 1:        Identify the Property You Claim as Exempt

1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.

          You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)

          You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)

2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.
     Brief description of the property and line on      Current value of the   Amount of the exemption you claim        Specific laws that allow exemption
     Schedule A/B that lists this property              portion you own
                                                        Copy the value from    Check only one box for each exemption.
                                                        Schedule A/B

     370 Rushing Springs Rd. Lincoln, AL                     $175,800.00                                $12,161.00      Ala. Code §§ 6-10-2, 6-10-3,
     35096 Talladega County                                                                                             6-10-4, 6-10-12; Const. Art. X,
     Line from Schedule A/B: 1.1                                                    100% of fair market value, up to    § 205
                                                                                    any applicable statutory limit

     2014 Toyota Tundra Limited 165,082                        $23,700.00                                      $0.00    Ala. Code §§ 6-10-6, 6-10-12
     miles
     Line from Schedule A/B: 3.1                                                    100% of fair market value, up to
                                                                                    any applicable statutory limit

     2015 Nissan Pathfinder SL 124,335                          $9,075.00                                      $0.00    Ala. Code §§ 6-10-6, 6-10-12
     miles
     Line from Schedule A/B: 3.2                                                    100% of fair market value, up to
                                                                                    any applicable statutory limit

     Household goods & furnishings                              $2,175.00                                 $2,175.00     Ala. Code §§ 6-10-6, 6-10-12
     Line from Schedule A/B: 6.1
                                                                                    100% of fair market value, up to
                                                                                    any applicable statutory limit

     Refrigerator financed with Conn's                          $4,500.00                                   $604.00     Ala. Code §§ 6-10-6, 6-10-12
     Home Plus
     Line from Schedule A/B: 6.2                                                    100% of fair market value, up to
                                                                                    any applicable statutory limit




Official Form 106C                               Schedule C: The Property You Claim as Exempt                                                      page 1 of 2



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Debtor 1    Steven Michael Puttonen
Debtor 2    Laura Gibson Puttonen                                                                Case number (if known)

    Brief description of the property and line on      Current value of the   Amount of the exemption you claim           Specific laws that allow exemption
    Schedule A/B that lists this property              portion you own
                                                       Copy the value from    Check only one box for each exemption.
                                                       Schedule A/B

    Laptop financed through Conn's                            $1,500.00                                    $198.00        Ala. Code §§ 6-10-6, 6-10-12
    Home Plus
    Line from Schedule A/B: 6.3                                                    100% of fair market value, up to
                                                                                   any applicable statutory limit

    Personal electronics                                         $300.00                                   $300.00        Ala. Code §§ 6-10-6, 6-10-12
    Line from Schedule A/B: 7.1
                                                                                   100% of fair market value, up to
                                                                                   any applicable statutory limit

    Personal clothing                                            $400.00                                   $400.00        Ala. Code §§ 6-10-6,
    Line from Schedule A/B: 11.1                                                                                          6-10-126(a)(2)
                                                                                   100% of fair market value, up to
                                                                                   any applicable statutory limit

    HVAC financed with AL Power                               $8,500.00                                       $0.00       Ala. Code §§ 6-10-6, 6-10-12
    Line from Schedule A/B: 14.1
                                                                                   100% of fair market value, up to
                                                                                   any applicable statutory limit

    Checking: Metro Bank                                         $771.00                                   $771.00        Ala. Code §§ 6-10-6, 6-10-12
    Line from Schedule A/B: 17.1
                                                                                   100% of fair market value, up to
                                                                                   any applicable statutory limit

    Personal injury case against                             $14,752.00                                $14,752.00         Ala. Code §§ 6-10-6, 6-10-12
    Walmart; represented by Alexander
    Shunnarah                                                                      100% of fair market value, up to
     Case was filed 3/3/2023 - value is                                            any applicable statutory limit
    based upon claim exemption but will
    be updated when value ascertained.
    Line from Schedule A/B: 33.1


3. Are you claiming a homestead exemption of more than $189,050?
   (Subject to adjustment on 4/01/25 and every 3 years after that for cases filed on or after the date of adjustment.)
           No
           Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
                 No
                 Yes




Official Form 106C                              Schedule C: The Property You Claim as Exempt                                                         page 2 of 2



           Case 24-40556-JJR13                      Doc 1     Filed 05/15/24 Entered 05/15/24 16:56:58                                 Desc Main
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Fill in this information to identify your case:

Debtor 1                   Steven Michael Puttonen
                           First Name                      Middle Name                      Last Name

Debtor 2                   Laura Gibson Puttonen
(Spouse if, filing)        First Name                      Middle Name                      Last Name


United States Bankruptcy Court for the:             NORTHERN DISTRICT OF ALABAMA, EASTERN DIVISION

Case number
(if known)                                                                                                                                       Check if this is an
                                                                                                                                                 amended filing

Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                        12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more space
is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any additional pages, write your name and case
number (if known).
1. Do any creditors have claims secured by your property?
          No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
          Yes. Fill in all of the information below.
Part 1:        List All Secured Claims
                                                                                                           Column A               Column B                Column C
2. List all secured claims. If a creditor has more than one secured claim, list the creditor separately
for each claim. If more than one creditor has a particular claim, list the other creditors in Part 2. As   Amount of claim        Value of collateral     Unsecured
much as possible, list the claims in alphabetical order according to the creditor’s name.                  Do not deduct the      that supports this      portion
                                                                                                           value of collateral.   claim                   If any
        Alabama Power - Smart
2.1                                                                                                              $7,785.00                $8,500.00                    $0.00
        Financing                                Describe the property that secures the claim:
        Creditor's Name                          HVAC financed with AL Power

        Attn: Bankruptcy
                                                 As of the date you file, the claim is: Check all that
        600 North 18th St.                       apply.
        Birmingham, AL 35203                         Contingent
        Number, Street, City, State & Zip Code       Unliquidated
                                                     Disputed
Who owes the debt? Check one.                    Nature of lien. Check all that apply.
    Debtor 1 only                                    An agreement you made (such as mortgage or secured
    Debtor 2 only                                     car loan)

      Debtor 1 and Debtor 2 only                     Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another          Judgment lien from a lawsuit
      Check if this claim relates to a               Other (including a right to offset)   Purchase Money Security
      community debt

Date debt was incurred          08/2021                   Last 4 digits of account number        6428




Official Form 106D                               Schedule D: Creditors Who Have Claims Secured by Property                                                      page 1 of 4



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Debtor 1 Steven Michael Puttonen                                                                             Case number (if known)
              First Name                  Middle Name                      Last Name
Debtor 2 Laura Gibson Puttonen
              First Name                  Middle Name                      Last Name


2.2     Conn's HomePlus                            Describe the property that secures the claim:                      $3,896.00       $4,500.00         $0.00
        Creditor's Name                            Refrigerator financed with Conn's
        2445 Technology Forest                     Home Plus
        Boulevard
        Building 4, Suite 800                      As of the date you file, the claim is: Check all that
                                                   apply.
        The Woodlands, TX                               Contingent
        77381
        Number, Street, City, State & Zip Code          Unliquidated
                                                        Disputed
Who owes the debt? Check one.                      Nature of lien. Check all that apply.
   Debtor 1 only                                        An agreement you made (such as mortgage or secured
                                                         car loan)
   Debtor 2 only
      Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
   At least one of the debtors and another              Judgment lien from a lawsuit
      Check if this claim relates to a                  Other (including a right to offset)   Purchase Money Security
      community debt

                                Opened
Date debt was incurred          06/22                       Last 4 digits of account number         7630


2.3     Conn's HomePlus                            Describe the property that secures the claim:                      $1,302.00       $1,500.00         $0.00
        Creditor's Name                            Laptop financed through Conn's
        2445 Technology Forest                     Home Plus
        Boulevard
        Building 4, Suite 800                      As of the date you file, the claim is: Check all that
                                                   apply.
        The Woodlands, TX                               Contingent
        77381
        Number, Street, City, State & Zip Code          Unliquidated
                                                        Disputed
Who owes the debt? Check one.                      Nature of lien. Check all that apply.
   Debtor 1 only                                        An agreement you made (such as mortgage or secured
                                                         car loan)
   Debtor 2 only
      Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
   At least one of the debtors and another              Judgment lien from a lawsuit
      Check if this claim relates to a                  Other (including a right to offset)   Purchase Money Security
      community debt

                                Opened
Date debt was incurred          06/22                       Last 4 digits of account number         1230




Official Form 106D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                page 2 of 4



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Debtor 1 Steven Michael Puttonen                                                                             Case number (if known)
              First Name                  Middle Name                      Last Name
Debtor 2 Laura Gibson Puttonen
              First Name                  Middle Name                      Last Name


2.4     Credit Acceptance                          Describe the property that secures the claim:                    $30,621.00        $23,700.00    $6,921.00
        Creditor's Name                            2014 Toyota Tundra Limited 165,082
        Attn: Bankruptcy                           miles
        25505 West 12 Mile Road
                                                   As of the date you file, the claim is: Check all that
        Ste 3000                                   apply.
        Southfield, MI 48034                            Contingent
        Number, Street, City, State & Zip Code          Unliquidated
                                                        Disputed
Who owes the debt? Check one.                      Nature of lien. Check all that apply.
   Debtor 1 only                                        An agreement you made (such as mortgage or secured
                                                         car loan)
   Debtor 2 only
      Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
   At least one of the debtors and another              Judgment lien from a lawsuit
      Check if this claim relates to a                  Other (including a right to offset)   Purchase Money Security
      community debt

                                Opened
Date debt was incurred          06/22                       Last 4 digits of account number         5010


2.5     Credit Acceptance                          Describe the property that secures the claim:                    $22,287.00         $9,075.00   $13,212.00
        Creditor's Name                            2015 Nissan Pathfinder SL 124,335
        Attn: Bankruptcy                           miles
        25505 West 12 Mile Road
                                                   As of the date you file, the claim is: Check all that
        Ste 3000                                   apply.
        Southfield, MI 48034                            Contingent
        Number, Street, City, State & Zip Code          Unliquidated
                                                        Disputed
Who owes the debt? Check one.                      Nature of lien. Check all that apply.
   Debtor 1 only                                        An agreement you made (such as mortgage or secured
   Debtor 2 only                                         car loan)

      Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
   At least one of the debtors and another              Judgment lien from a lawsuit
      Check if this claim relates to a                  Other (including a right to offset)   Purchase Money Security
      community debt

                                Opened
Date debt was incurred          07/22                       Last 4 digits of account number         7837




Official Form 106D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                  page 3 of 4



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Debtor 1 Steven Michael Puttonen                                                                             Case number (if known)
              First Name                  Middle Name                      Last Name
Debtor 2 Laura Gibson Puttonen
              First Name                  Middle Name                      Last Name


        Family Savings Credit
2.6                                                                                                                 $59,130.00                $175,800.00              $0.00
        Union                                      Describe the property that secures the claim:
        Creditor's Name                            370 Rushing Springs Rd. Lincoln,
                                                   AL 35096 Talladega County
        Attn: Bankruptcy
                                                   As of the date you file, the claim is: Check all that
        711 E. Meighan Blvd                        apply.
        Gadsden, AL 35903                               Contingent
        Number, Street, City, State & Zip Code          Unliquidated
                                                        Disputed
Who owes the debt? Check one.                      Nature of lien. Check all that apply.
      Debtor 1 only                                     An agreement you made (such as mortgage or secured
      Debtor 2 only                                      car loan)

      Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
      At least one of the debtors and another           Judgment lien from a lawsuit
      Check if this claim relates to a                  Other (including a right to offset)   HELOC
      community debt

                                Opened
Date debt was incurred          09/22                       Last 4 digits of account number         0500


2.7     PHH Mortgage                               Describe the property that secures the claim:                   $104,509.00                $175,800.00              $0.00
        Creditor's Name                            370 Rushing Springs Rd. Lincoln,
                                                   AL 35096 Talladega County
                                                   As of the date you file, the claim is: Check all that
        PO Box 5452                                apply.
        Mt Laurel, NJ 08054                             Contingent
        Number, Street, City, State & Zip Code          Unliquidated
                                                        Disputed
Who owes the debt? Check one.                      Nature of lien. Check all that apply.
      Debtor 1 only                                     An agreement you made (such as mortgage or secured
                                                         car loan)
      Debtor 2 only
      Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
      At least one of the debtors and another           Judgment lien from a lawsuit
      Check if this claim relates to a                  Other (including a right to offset)   Mortgage
      community debt

                                Opened
Date debt was incurred          10/06                       Last 4 digits of account number         1603



  Add the dollar value of your entries in Column A on this page. Write that number here:                                    $229,530.00
  If this is the last page of your form, add the dollar value totals from all pages.
  Write that number here:                                                                                                   $229,530.00

Part 2:      List Others to Be Notified for a Debt That You Already Listed
Use this page only if you have others to be notified about your bankruptcy for a debt that you already listed in Part 1. For example, if a collection agency is
trying to collect from you for a debt you owe to someone else, list the creditor in Part 1, and then list the collection agency here. Similarly, if you have more
than one creditor for any of the debts that you listed in Part 1, list the additional creditors here. If you do not have additional persons to be notified for any
debts in Part 1, do not fill out or submit this page.

[ ]
           Name, Number, Street, City, State & Zip Code                                              On which line in Part 1 did you enter the creditor?   2.1
           Credit Systems International, Inc
           P.O. Box 1008                                                                             Last 4 digits of account number   3311
           Arlington, TX 76004




Official Form 106D                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                               page 4 of 4



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Fill in this information to identify your case:

Debtor 1                     Steven Michael Puttonen
                             First Name                    Middle Name                       Last Name

Debtor 2                     Laura Gibson Puttonen
(Spouse if, filing)          First Name                    Middle Name                       Last Name


United States Bankruptcy Court for the:                NORTHERN DISTRICT OF ALABAMA, EASTERN DIVISION

Case number
(if known)                                                                                                                                           Check if this is an
                                                                                                                                                     amended filing

Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                               12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims. List the other party to
any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Property (Official Form 106A/B) and on
Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any creditors with partially secured claims that are listed in
Schedule D: Creditors Who Have Claims Secured by Property. If more space is needed, copy the Part you need, fill it out, number the entries in the boxes on the
left. Attach the Continuation Page to this page. If you have no information to report in a Part, do not file that Part. On the top of any additional pages, write your
name and case number (if known).
Part 1:        List All of Your PRIORITY Unsecured Claims
1.    Do any creditors have priority unsecured claims against you?
          No. Go to Part 2.

          Yes.
2.    List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each claim. For each claim listed,
      identify what type of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and show both priority and nonpriority amounts. As much as
      possible, list the claims in alphabetical order according to the creditor’s name. If you have more than two priority unsecured claims, fill out the Continuation Page of
      Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.
      (For an explanation of each type of claim, see the instructions for this form in the instruction booklet.)
                                                                                                                      Total claim       Priority              Nonpriority
                                                                                                                                        amount                amount
2.1          Alabama Department Of Revenue                       Last 4 digits of account number         6428                 $485.00              $485.00                 $0.00
             Priority Creditor's Name
             Legal Division                                      When was the debt incurred?             12/23
             P.O. Box 320001
             Montgomery, AL 36132-0001
             Number Street City State Zip Code                   As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                             Contingent
             Debtor 1 only                                           Unliquidated
             Debtor 2 only                                           Disputed
             Debtor 1 and Debtor 2 only                          Type of PRIORITY unsecured claim:

             At least one of the debtors and another                 Domestic support obligations

             Check if this claim is for a community debt             Taxes and certain other debts you owe the government
       Is the claim subject to offset?                               Claims for death or personal injury while you were intoxicated
             No                                                      Other. Specify
             Yes                                                                       State Income Tax




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                            Page 1 of 16
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Debtor 1 Steven Michael Puttonen
Debtor 2 Laura Gibson Puttonen                                                                            Case number (if known)

2.2        Internal Revenue Service                               Last 4 digits of account number       6428                $2,286.00              $2,286.00                    $0.00
           Priority Creditor's Name
           Centralized Insolvency                                 When was the debt incurred?           12/2022-12/2023
           Operations
           P.O. Box 7346
           Philadelphia, PA 19101-7346
           Number Street City State Zip Code                      As of the date you file, the claim is: Check all that apply
       Who incurred the debt? Check one.                             Contingent
           Debtor 1 only                                             Unliquidated
           Debtor 2 only                                             Disputed
           Debtor 1 and Debtor 2 only                             Type of PRIORITY unsecured claim:

           At least one of the debtors and another                   Domestic support obligations

           Check if this claim is for a community debt               Taxes and certain other debts you owe the government
       Is the claim subject to offset?                               Claims for death or personal injury while you were intoxicated
           No                                                        Other. Specify
           Yes                                                                          Federal Income Tax


Part 2:       List All of Your NONPRIORITY Unsecured Claims
3.    Do any creditors have nonpriority unsecured claims against you?

         No. You have nothing to report in this part. Submit this form to the court with your other schedules.

         Yes.

4.    List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one nonpriority
      unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already included in Part 1. If more
      than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured claims fill out the Continuation Page of
      Part 2.
                                                                                                                                                             Total claim

4.1        Affirm, Inc.                                              Last 4 digits of account number         6NZ4                                                        $1,412.00
           Nonpriority Creditor's Name
           Attn: Bankruptcy                                          When was the debt incurred?             Opened 08/22
           650 California St, Fl 12
           San Francisco, CA 94108
           Number Street City State Zip Code                         As of the date you file, the claim is: Check all that apply
           Who incurred the debt? Check one.

                Debtor 1 only                                           Contingent
                Debtor 2 only                                           Unliquidated
                Debtor 1 and Debtor 2 only                              Disputed
                At least one of the debtors and another              Type of NONPRIORITY unsecured claim:

               Check if this claim is for a community                   Student loans
           debt                                                         Obligations arising out of a separation agreement or divorce that you did not
           Is the claim subject to offset?                           report as priority claims

                No                                                      Debts to pension or profit-sharing plans, and other similar debts

                Yes                                                     Other. Specify    Installment Account




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                                  Page 2 of 16




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Debtor 1 Steven Michael Puttonen
Debtor 2 Laura Gibson Puttonen                                                                     Case number (if known)

4.2      Affirm, Inc.                                          Last 4 digits of account number       HSJ3                                                 $311.00
         Nonpriority Creditor's Name
         Attn: Bankruptcy                                      When was the debt incurred?           Opened 09/22
         650 California St, Fl 12
         San Francisco, CA 94108
         Number Street City State Zip Code                     As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.
             Debtor 1 only                                        Contingent
             Debtor 2 only                                        Unliquidated
             Debtor 1 and Debtor 2 only                           Disputed
             At least one of the debtors and another           Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community               Student loans
         debt                                                     Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                       report as priority claims

             No                                                   Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                  Other. Specify   Installment Account


4.3      Aspire Credit Card                                    Last 4 digits of account number       5003                                                 $781.00
         Nonpriority Creditor's Name
         c/o Jefferson Capital Systems, LLC                    When was the debt incurred?           Opened 11/23
         200 14th Ave E
         Sartell, MN 56377
         Number Street City State Zip Code                     As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                        Contingent
             Debtor 2 only                                        Unliquidated
             Debtor 1 and Debtor 2 only                           Disputed
             At least one of the debtors and another           Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community               Student loans
         debt                                                     Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                       report as priority claims

             No                                                   Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                  Other. Specify   Credit Card


4.4      Capital One                                           Last 4 digits of account number       8882                                               $1,145.00
         Nonpriority Creditor's Name
         Attn: Bankruptcy                                      When was the debt incurred?           Opened 01/22
         PO Box 30285
         Salt Lake City, UT 84130
         Number Street City State Zip Code                     As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                        Contingent
             Debtor 2 only                                        Unliquidated
             Debtor 1 and Debtor 2 only                           Disputed
             At least one of the debtors and another           Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community               Student loans
         debt                                                     Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                       report as priority claims

             No                                                   Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                  Other. Specify   Credit Card




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Debtor 1 Steven Michael Puttonen
Debtor 2 Laura Gibson Puttonen                                                                     Case number (if known)

4.5      Capital One                                           Last 4 digits of account number       8554                                                 $280.00
         Nonpriority Creditor's Name
         Attn: Bankruptcy                                      When was the debt incurred?           Opened 01/21
         PO Box 30285
         Salt Lake City, UT 84130
         Number Street City State Zip Code                     As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.
             Debtor 1 only                                        Contingent
             Debtor 2 only                                        Unliquidated
             Debtor 1 and Debtor 2 only                           Disputed
             At least one of the debtors and another           Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community               Student loans
         debt                                                     Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                       report as priority claims

             No                                                   Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                  Other. Specify   Credit Card


4.6      Capital One N.A.                                      Last 4 digits of account number       0185                                                 $483.00
         Nonpriority Creditor's Name
         c/o The Bureaus Inc                                   When was the debt incurred?           Opened 01/24
         650 Dundee Rd, Ste 370
         Northbrook, IL 60062
         Number Street City State Zip Code                     As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                        Contingent
             Debtor 2 only                                        Unliquidated
             Debtor 1 and Debtor 2 only                           Disputed
             At least one of the debtors and another           Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community               Student loans
         debt                                                     Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                       report as priority claims

             No                                                   Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                  Other. Specify   Credit Card


4.7      Citibank/Shell Oil                                    Last 4 digits of account number       6560                                               $1,058.00
         Nonpriority Creditor's Name
         Citicorp Cr Srvs/Centralized                          When was the debt incurred?           Opened 06/22
         Bankruptcy
         PO Box 790040
         St Louis, MO 63179
         Number Street City State Zip Code                     As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.
             Debtor 1 only                                        Contingent
             Debtor 2 only                                        Unliquidated
             Debtor 1 and Debtor 2 only                           Disputed
             At least one of the debtors and another           Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community               Student loans
         debt                                                     Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                       report as priority claims

             No                                                   Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                  Other. Specify   Credit Card




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Debtor 1 Steven Michael Puttonen
Debtor 2 Laura Gibson Puttonen                                                                     Case number (if known)

4.8      Coastal/Prosper                                       Last 4 digits of account number       8041                                               $1,036.00
         Nonpriority Creditor's Name
         Attn: Bankruptcy Dept                                 When was the debt incurred?           Opened 1/15/23
         221 Main Street, Ste 400
         San Francisco, CA 94105
         Number Street City State Zip Code                     As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                        Contingent
             Debtor 2 only                                        Unliquidated
             Debtor 1 and Debtor 2 only                           Disputed
             At least one of the debtors and another           Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community               Student loans
         debt                                                     Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                       report as priority claims

             No                                                   Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                  Other. Specify   Credit Card


4.9      Credit Central                                        Last 4 digits of account number       2694                                               $1,781.00
         Nonpriority Creditor's Name
         Attn: Bankruptcy                                      When was the debt incurred?           Opened 07/23
         700 East North St, Ste 15
         Greenville, SC 29604
         Number Street City State Zip Code                     As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.
             Debtor 1 only                                        Contingent
             Debtor 2 only                                        Unliquidated
             Debtor 1 and Debtor 2 only                           Disputed
             At least one of the debtors and another           Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community               Student loans
         debt                                                     Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                       report as priority claims

             No                                                   Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                  Other. Specify   Installment Account


4.1      Credit One Bank N.A./LVNV
0        Funding                                               Last 4 digits of account number       5377                                               $1,454.00
         Nonpriority Creditor's Name
         c/o Resurgent Capital                                 When was the debt incurred?           Opened 01/24
         PO Box 10497
         Greenville, SC 29603
         Number Street City State Zip Code                     As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                        Contingent
             Debtor 2 only                                        Unliquidated
             Debtor 1 and Debtor 2 only                           Disputed
             At least one of the debtors and another           Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community               Student loans
         debt                                                     Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                       report as priority claims

             No                                                   Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                  Other. Specify   Credit Card




Official Form 106 E/F                              Schedule E/F: Creditors Who Have Unsecured Claims                                                     Page 5 of 16




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Debtor 1 Steven Michael Puttonen
Debtor 2 Laura Gibson Puttonen                                                                     Case number (if known)

4.1      Credit One Bank N.A./LVNV
1        Funding                                               Last 4 digits of account number       6571                                               $1,302.00
         Nonpriority Creditor's Name
         c/o Resurgent Capital Services                        When was the debt incurred?           Opened 01/24
         PO Box 10497
         Greenville, SC 29603
         Number Street City State Zip Code                     As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                        Contingent
             Debtor 2 only                                        Unliquidated
             Debtor 1 and Debtor 2 only                           Disputed
             At least one of the debtors and another           Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community               Student loans
         debt                                                     Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                       report as priority claims

             No                                                   Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                  Other. Specify   Credit Card


4.1
2        First Electronic Bank                                 Last 4 digits of account number       4551                                                 $621.00
         Nonpriority Creditor's Name
         c/o Midland Credit Management                         When was the debt incurred?           Opened 09/23
         PO Box 939069
         San Diego, CA 92193
         Number Street City State Zip Code                     As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                        Contingent
             Debtor 2 only                                        Unliquidated
             Debtor 1 and Debtor 2 only                           Disputed
             At least one of the debtors and another           Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community               Student loans
         debt                                                     Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                       report as priority claims

             No                                                   Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                  Other. Specify   Credit Card


4.1
3        First Premier Bank                                    Last 4 digits of account number       2544                                                 $861.00
         Nonpriority Creditor's Name
         3820 N Louise Ave                                     When was the debt incurred?           Opened 01/18
         Sioux Falls, SD 57107
         Number Street City State Zip Code                     As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.
             Debtor 1 only                                        Contingent
             Debtor 2 only                                        Unliquidated
             Debtor 1 and Debtor 2 only                           Disputed
             At least one of the debtors and another           Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community               Student loans
         debt                                                     Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                       report as priority claims

             No                                                   Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                  Other. Specify   Credit Card




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Debtor 1 Steven Michael Puttonen
Debtor 2 Laura Gibson Puttonen                                                                     Case number (if known)

4.1
4        First Premier Bank                                    Last 4 digits of account number       4295                                                 $610.00
         Nonpriority Creditor's Name
         3820 N Louise Ave                                     When was the debt incurred?           Opened 02/23
         Sioux Falls, SD 57107
         Number Street City State Zip Code                     As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                        Contingent
             Debtor 2 only                                        Unliquidated
             Debtor 1 and Debtor 2 only                           Disputed
             At least one of the debtors and another           Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community               Student loans
         debt                                                     Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                       report as priority claims

             No                                                   Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                  Other. Specify   Credit Card


4.1
5        First Savings Bank/Blaze                              Last 4 digits of account number       2590                                                 $687.00
         Nonpriority Creditor's Name
         c/o Sequium Asset Solutions                           When was the debt incurred?           Opened 07/22
         1130 North Chase Pkwy SE, STE
         150
         Marietta, GA 30067
         Number Street City State Zip Code                     As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                        Contingent
             Debtor 2 only                                        Unliquidated
             Debtor 1 and Debtor 2 only                           Disputed
             At least one of the debtors and another           Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community               Student loans
         debt                                                     Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                       report as priority claims

             No                                                   Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                  Other. Specify   Credit Card


4.1
6        Gulfco of AL Llc                                      Last 4 digits of account number       0953                                               $2,850.00
         Nonpriority Creditor's Name
         dba Tower Loan of Pell City                           When was the debt incurred?           Opened 12/08/22
         PO Box 320001
         Flowood, MS 39232
         Number Street City State Zip Code                     As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.
             Debtor 1 only                                        Contingent
             Debtor 2 only                                        Unliquidated
             Debtor 1 and Debtor 2 only                           Disputed
             At least one of the debtors and another           Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community               Student loans
         debt                                                     Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                       report as priority claims

             No                                                   Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                  Other. Specify   Pending Judgment




Official Form 106 E/F                              Schedule E/F: Creditors Who Have Unsecured Claims                                                     Page 7 of 16




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Debtor 1 Steven Michael Puttonen
Debtor 2 Laura Gibson Puttonen                                                                     Case number (if known)

4.1
7        Hargray Communications Pell City                      Last 4 digits of account number       7033                                                 $256.00
         Nonpriority Creditor's Name
         c/o Carter-Young                                      When was the debt incurred?           Opened 09/22
         120 2nd St, 2nd Floor
         Monroe, GA 30655
         Number Street City State Zip Code                     As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.
             Debtor 1 only                                        Contingent
             Debtor 2 only                                        Unliquidated
             Debtor 1 and Debtor 2 only                           Disputed
             At least one of the debtors and another           Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community               Student loans
         debt                                                     Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                       report as priority claims

             No                                                   Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                  Other. Specify   Open Account


4.1
8        LVNV Funding                                          Last 4 digits of account number       9491                                               $1,018.00
         Nonpriority Creditor's Name
         c/o Resurgent Capital Services                        When was the debt incurred?           Opened 07/23
         PO Box 10497
         Greenville, SC 29603
         Number Street City State Zip Code                     As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.
             Debtor 1 only                                        Contingent
             Debtor 2 only                                        Unliquidated
             Debtor 1 and Debtor 2 only                           Disputed
             At least one of the debtors and another           Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community               Student loans
         debt                                                     Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                       report as priority claims

             No                                                   Debts to pension or profit-sharing plans, and other similar debts

                                                                                   Credit Card
             Yes                                                  Other. Specify   Orig. creditor = Credit One Bank N.A.


4.1
9        LVNV Funding                                          Last 4 digits of account number       4787                                                 $828.00
         Nonpriority Creditor's Name
         c/o Resurgent Capital Services                        When was the debt incurred?           Opened 11/23
         PO Box 10497
         Greenville, SC 29603
         Number Street City State Zip Code                     As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                        Contingent
             Debtor 2 only                                        Unliquidated
             Debtor 1 and Debtor 2 only                           Disputed
             At least one of the debtors and another           Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community               Student loans
         debt                                                     Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                       report as priority claims

             No                                                   Debts to pension or profit-sharing plans, and other similar debts

                                                                                   Credit Card
             Yes                                                  Other. Specify   Orig. creditor = Fit/Bank Of Missouri



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Debtor 1 Steven Michael Puttonen
Debtor 2 Laura Gibson Puttonen                                                                     Case number (if known)

4.2
0        LVNV Funding                                          Last 4 digits of account number       6412                                                 $771.00
         Nonpriority Creditor's Name
         c/o Resurgent Capital Services                        When was the debt incurred?           Opened 06/23
         PO Box 10497
         Greenville, SC 29603
         Number Street City State Zip Code                     As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.
             Debtor 1 only                                        Contingent
             Debtor 2 only                                        Unliquidated
             Debtor 1 and Debtor 2 only                           Disputed
             At least one of the debtors and another           Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community               Student loans
         debt                                                     Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                       report as priority claims

             No                                                   Debts to pension or profit-sharing plans, and other similar debts

                                                                                   Credit Card
             Yes                                                  Other. Specify   Orig. creditor = Credit One Bank N.A.


4.2
1        LVNV Funding                                          Last 4 digits of account number       8547                                                 $435.00
         Nonpriority Creditor's Name
         c/o Resurgent Capital Services                        When was the debt incurred?           Opened 06/23
         PO Box 10497
         Greenville, SC 29603
         Number Street City State Zip Code                     As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                        Contingent
             Debtor 2 only                                        Unliquidated
             Debtor 1 and Debtor 2 only                           Disputed
             At least one of the debtors and another           Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community               Student loans
         debt                                                     Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                       report as priority claims

             No                                                   Debts to pension or profit-sharing plans, and other similar debts

                                                                                   Credit Card
             Yes                                                  Other. Specify   Orig creditor = Revvi Card Mrv Banks




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Debtor 2 Laura Gibson Puttonen                                                                     Case number (if known)

4.2
2        LVNV Funding                                          Last 4 digits of account number       9146                                                 $434.00
         Nonpriority Creditor's Name
         c/o Resurgent Capital                                 When was the debt incurred?           Opened 06/23
         PO Box 10497
         Greenville, SC 29603
         Number Street City State Zip Code                     As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                        Contingent
             Debtor 2 only                                        Unliquidated
             Debtor 1 and Debtor 2 only                           Disputed
             At least one of the debtors and another           Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community               Student loans
         debt                                                     Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                       report as priority claims

             No                                                   Debts to pension or profit-sharing plans, and other similar debts

                                                                                   Credit Card
                                                                                   Orig. creditor = First Digital Fdc Synovus
             Yes                                                  Other. Specify   Bank


4.2
3        LVNV Funding                                          Last 4 digits of account number       9568                                                 $404.00
         Nonpriority Creditor's Name
         c/o Resurgent Capital Services                        When was the debt incurred?           Opened 06/23
         PO Box 10497
         Greenville, SC 29603
         Number Street City State Zip Code                     As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                        Contingent
             Debtor 2 only                                        Unliquidated
             Debtor 1 and Debtor 2 only                           Disputed
             At least one of the debtors and another           Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community               Student loans
         debt                                                     Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                       report as priority claims

             No                                                   Debts to pension or profit-sharing plans, and other similar debts

                                                                                   Credit Card
                                                                                   Orig. creditor = Total Card Bank Of
             Yes                                                  Other. Specify   Missouri


4.2
4        Merrick Bank Corp                                     Last 4 digits of account number       8899                                               $1,472.00
         Nonpriority Creditor's Name
         PO Box 9201                                           When was the debt incurred?           Opened 07/21
         Old Bethpage, NY 11804
         Number Street City State Zip Code                     As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                        Contingent
             Debtor 2 only                                        Unliquidated
             Debtor 1 and Debtor 2 only                           Disputed
             At least one of the debtors and another           Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community               Student loans
         debt                                                     Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                       report as priority claims

             No                                                   Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                  Other. Specify   Credit Card


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Debtor 2 Laura Gibson Puttonen                                                                     Case number (if known)


4.2
5        Mission Lane LLC                                      Last 4 digits of account number       3444                                               $1,325.00
         Nonpriority Creditor's Name
         Attn: Bankruptcy                                      When was the debt incurred?           Opened 06/22
         P.O. Box 105286
         Atlanta, GA 30348
         Number Street City State Zip Code                     As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                        Contingent
             Debtor 2 only                                        Unliquidated
             Debtor 1 and Debtor 2 only                           Disputed
             At least one of the debtors and another           Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community               Student loans
         debt                                                     Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                       report as priority claims

             No                                                   Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                  Other. Specify   Credit Card


4.2
6        Navy Federal Credit Union                             Last 4 digits of account number       9425                                                 $580.00
         Nonpriority Creditor's Name
         Attn: Bankruptcy                                      When was the debt incurred?           Opened 01/23
         PO Box 3000
         Merrifield, VA 22119
         Number Street City State Zip Code                     As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                        Contingent
             Debtor 2 only                                        Unliquidated
             Debtor 1 and Debtor 2 only                           Disputed
             At least one of the debtors and another           Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community               Student loans
         debt                                                     Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                       report as priority claims

             No                                                   Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                  Other. Specify   Credit Card


4.2
7        New Castle Superior Court                             Last 4 digits of account number       1672                                                 $311.00
         Nonpriority Creditor's Name
         Attn: Bankruptcy                                      When was the debt incurred?           2/2018
         500 N King St.
         Wilmington, DE 19801
         Number Street City State Zip Code                     As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.
             Debtor 1 only                                        Contingent
             Debtor 2 only                                        Unliquidated
             Debtor 1 and Debtor 2 only                           Disputed
             At least one of the debtors and another           Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community               Student loans
         debt                                                     Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                       report as priority claims

             No                                                   Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                  Other. Specify   State Tax Lien




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Debtor 2 Laura Gibson Puttonen                                                                     Case number (if known)

4.2
8        Opportunity Financial, LLC                            Last 4 digits of account number       6788                                               $3,001.00
         Nonpriority Creditor's Name
         130 East Randolph Street, Ste 3400                    When was the debt incurred?           Opened 01/23
         Chicago, IL 60601
         Number Street City State Zip Code                     As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.
             Debtor 1 only                                        Contingent
             Debtor 2 only                                        Unliquidated
             Debtor 1 and Debtor 2 only                           Disputed
             At least one of the debtors and another           Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community               Student loans
         debt                                                     Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                       report as priority claims

             No                                                   Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                  Other. Specify   Installment Account


4.2
9        Republic Finance                                      Last 4 digits of account number       0192                                               $5,117.00
         Nonpriority Creditor's Name
         Attn: Bankruptcy                                      When was the debt incurred?           3/12/2024
         7031 Commerce Circle
         Baton Rouge, LA 70809
         Number Street City State Zip Code                     As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.
             Debtor 1 only                                        Contingent
             Debtor 2 only                                        Unliquidated
             Debtor 1 and Debtor 2 only                           Disputed
             At least one of the debtors and another           Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community               Student loans
         debt                                                     Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                       report as priority claims

             No                                                   Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                  Other. Specify   Judgment


4.3
0        Security Finance Co                                   Last 4 digits of account number       1550                                               $2,133.00
         Nonpriority Creditor's Name
         Attn: Bankruptcy/Centralized Bank                     When was the debt incurred?           Opened 6/02/23
         PO Box 1893
         Spartanburg, SC 29304
         Number Street City State Zip Code                     As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.
             Debtor 1 only                                        Contingent
             Debtor 2 only                                        Unliquidated
             Debtor 1 and Debtor 2 only                           Disputed
             At least one of the debtors and another           Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community               Student loans
         debt                                                     Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                       report as priority claims

             No                                                   Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                  Other. Specify   Installment Account




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Debtor 1 Steven Michael Puttonen
Debtor 2 Laura Gibson Puttonen                                                                     Case number (if known)

4.3
1        Security Finance Co                                   Last 4 digits of account number       1550                                               $1,610.00
         Nonpriority Creditor's Name
         Attn: Bankruptcy/Centralized Bank                     When was the debt incurred?           Opened 1/06/23
         PO Box 1893
         Spartanburg, SC 29304
         Number Street City State Zip Code                     As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                        Contingent
             Debtor 2 only                                        Unliquidated
             Debtor 1 and Debtor 2 only                           Disputed
             At least one of the debtors and another           Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community               Student loans
         debt                                                     Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                       report as priority claims

             No                                                   Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                  Other. Specify   Installment Account


4.3
2        ShopHQ                                                Last 4 digits of account number       2611                                               $2,633.00
         Nonpriority Creditor's Name
         c/o Oliphant Usa                                      When was the debt incurred?           Opened 4/26/23
         1800 2nd St., Suite 603
         Sarasota, FL 34236
         Number Street City State Zip Code                     As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                        Contingent
             Debtor 2 only                                        Unliquidated
             Debtor 1 and Debtor 2 only                           Disputed
             At least one of the debtors and another           Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community               Student loans
         debt                                                     Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                       report as priority claims

             No                                                   Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                  Other. Specify   Installment Account


4.3
3        Sunbit Financial                                      Last 4 digits of account number       4863                                                 $347.00
         Nonpriority Creditor's Name
         Attn: Bankruptcy                                      When was the debt incurred?           Opened 10/08/22
         10880 Wilshire Blv Suite 870
         Los Angeles, CA 90024
         Number Street City State Zip Code                     As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.
             Debtor 1 only                                        Contingent
             Debtor 2 only                                        Unliquidated
             Debtor 1 and Debtor 2 only                           Disputed
             At least one of the debtors and another           Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community               Student loans
         debt                                                     Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                       report as priority claims

             No                                                   Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                  Other. Specify   Installment Sales Contract




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Debtor 2 Laura Gibson Puttonen                                                                     Case number (if known)

4.3
4        Surge Celtic Bank/LVNV Funding                        Last 4 digits of account number       1086                                               $1,540.00
         Nonpriority Creditor's Name
         c/o Resurgent Capital Services                        When was the debt incurred?           Opened 11/23
         PO Box 10497
         Greenville, SC 29603
         Number Street City State Zip Code                     As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                        Contingent
             Debtor 2 only                                        Unliquidated
             Debtor 1 and Debtor 2 only                           Disputed
             At least one of the debtors and another           Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community               Student loans
         debt                                                     Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                       report as priority claims

             No                                                   Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                  Other. Specify   Credit Card


4.3
5        Synchrony Bank                                        Last 4 digits of account number       8659                                               $1,694.00
         Nonpriority Creditor's Name
         c/o Portfolio Recovery Associates,                    When was the debt incurred?           Opened 11/23
         LLC
         120 Corporate Boulevard
         Norfolk, VA 23502
         Number Street City State Zip Code                     As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                        Contingent
             Debtor 2 only                                        Unliquidated
             Debtor 1 and Debtor 2 only                           Disputed
             At least one of the debtors and another           Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community               Student loans
         debt                                                     Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                       report as priority claims

             No                                                   Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                  Other. Specify   Credit Card


4.3
6        Synchrony Bank/ShopNBC                                Last 4 digits of account number       8294                                               $1,754.00
         Nonpriority Creditor's Name
         Attn: Bankruptcy                                      When was the debt incurred?           Opened 01/22
         PO Box 965060
         Orlando, FL 32896
         Number Street City State Zip Code                     As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                        Contingent
             Debtor 2 only                                        Unliquidated
             Debtor 1 and Debtor 2 only                           Disputed
             At least one of the debtors and another           Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community               Student loans
         debt                                                     Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                       report as priority claims

             No                                                   Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                  Other. Specify   Credit Card



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Debtor 2 Laura Gibson Puttonen                                                                     Case number (if known)

4.3
7        The Bank of Missouri                                  Last 4 digits of account number       4550                                                 $641.00
         Nonpriority Creditor's Name
         c/o Midland Credit Management                         When was the debt incurred?           Opened 09/23
         PO Box 939069
         San Diego, CA 92193
         Number Street City State Zip Code                     As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                        Contingent
             Debtor 2 only                                        Unliquidated
             Debtor 1 and Debtor 2 only                           Disputed
             At least one of the debtors and another           Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community               Student loans
         debt                                                     Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                       report as priority claims

             No                                                   Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                  Other. Specify   Credit Card


4.3      Western Sizzlin Steakhouse &
8        Buffet                                                Last 4 digits of account number       0159                                                     $0.00
         Nonpriority Creditor's Name
         Attn: Bankruptcy                                      When was the debt incurred?           3/21/2024
         200 Hamric Dr. E
         Oxford, AL 36203
         Number Street City State Zip Code                     As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                        Contingent

             Debtor 2 only                                        Unliquidated

             Debtor 1 and Debtor 2 only                           Disputed
             At least one of the debtors and another           Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community               Student loans
         debt                                                     Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                       report as priority claims

             No                                                   Debts to pension or profit-sharing plans, and other similar debts

                                                                                   Pending Judgment-Debtor has no liability
             Yes                                                  Other. Specify   to Plaintiff


4.3
9        World Finance Corp                                    Last 4 digits of account number       4901                                               $1,935.00
         Nonpriority Creditor's Name
         Attn: Bankruptcy                                      When was the debt incurred?           3/2023
         P.O. Box 6429
         Greenville, SC 29606
         Number Street City State Zip Code                     As of the date you file, the claim is: Check all that apply
         Who incurred the debt? Check one.

             Debtor 1 only                                        Contingent
             Debtor 2 only                                        Unliquidated
             Debtor 1 and Debtor 2 only                           Disputed
             At least one of the debtors and another           Type of NONPRIORITY unsecured claim:

             Check if this claim is for a community               Student loans
         debt                                                     Obligations arising out of a separation agreement or divorce that you did not
         Is the claim subject to offset?                       report as priority claims

             No                                                   Debts to pension or profit-sharing plans, and other similar debts

             Yes                                                  Other. Specify   Installment Account



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Debtor 1 Steven Michael Puttonen
Debtor 2 Laura Gibson Puttonen                                                                          Case number (if known)

Part 3:       List Others to Be Notified About a Debt That You Already Listed
5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For example, if a collection agency
   is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or 2, then list the collection agency here. Similarly, if you
   have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the additional creditors here. If you do not have additional persons to be
   notified for any debts in Parts 1 or 2, do not fill out or submit this page.

Part 4:       Add the Amounts for Each Type of Unsecured Claim
6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. §159. Add the amounts for each
   type of unsecured claim.

                                                                                                                           Total Claim
                        6a.   Domestic support obligations                                                6a.      $                     0.00
Total
claims
from Part 1             6b.   Taxes and certain other debts you owe the government                        6b.      $                 2,771.00
                        6c.   Claims for death or personal injury while you were intoxicated              6c.      $                     0.00
                        6d.   Other. Add all other priority unsecured claims. Write that amount here.     6d.      $                     0.00

                        6e.   Total Priority. Add lines 6a through 6d.                                    6e.      $                 2,771.00

                                                                                                                           Total Claim
                        6f.   Student loans                                                               6f.      $                     0.00
Total
claims
from Part 2             6g.   Obligations arising out of a separation agreement or divorce that
                              you did not report as priority claims                                       6g.      $                     0.00
                        6h.   Debts to pension or profit-sharing plans, and other similar debts           6h.      $                     0.00
                        6i.   Other. Add all other nonpriority unsecured claims. Write that amount        6i.
                              here.                                                                                $                46,911.00

                        6j.   Total Nonpriority. Add lines 6f through 6i.                                 6j.      $                46,911.00




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Fill in this information to identify your case:

Debtor 1                  Steven Michael Puttonen
                          First Name                         Middle Name            Last Name

Debtor 2                  Laura Gibson Puttonen
(Spouse if, filing)       First Name                         Middle Name            Last Name


United States Bankruptcy Court for the:               NORTHERN DISTRICT OF ALABAMA, EASTERN DIVISION

Case number
(if known)                                                                                                                             Check if this is an
                                                                                                                                       amended filing



Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                   12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any
additional pages, write your name and case number (if known).

1.     Do you have any executory contracts or unexpired leases?
         No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
             Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B:Property (Official Form 106 A/B).

2.     List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for
       example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts
       and unexpired leases.


           Person or company with whom you have the contract or lease                  State what the contract or lease is for
                          Name, Number, Street, City, State and ZIP Code

     2.1      Aarons                                                                     Washer & Dryer under contract
              Attn: Bankruptcy                                                           Opened 6/2022 - 6 months remaining
              503 Martin St. N
              Pell City, AL 35125




Official Form 106G                                Schedule G: Executory Contracts and Unexpired Leases                                                Page 1 of 1



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Fill in this information to identify your case:

Debtor 1                   Steven Michael Puttonen
                           First Name                            Middle Name        Last Name

Debtor 2                   Laura Gibson Puttonen
(Spouse if, filing)        First Name                            Middle Name        Last Name


United States Bankruptcy Court for the:                 NORTHERN DISTRICT OF ALABAMA, EASTERN DIVISION

Case number
(if known)                                                                                                                    Check if this is an
                                                                                                                              amended filing


Official Form 106H
Schedule H: Your Codebtors                                                                                                                    12/15

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married
people are filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page,
fill it out, and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write
your name and case number (if known). Answer every question.

      1. Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.

          No
          Yes

      2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include
      Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

          No. Go to line 3.
          Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?


  3. In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person shown
     in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on Schedule D (Official
     Form 106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D, Schedule E/F, or Schedule G to fill
     out Column 2.

               Column 1: Your codebtor                                                              Column 2: The creditor to whom you owe the debt
               Name, Number, Street, City, State and ZIP Code                                       Check all schedules that apply:

   3.1                                                                                                Schedule D, line
               Name
                                                                                                      Schedule E/F, line
                                                                                                      Schedule G, line
               Number             Street
               City                                      State                       ZIP Code




   3.2                                                                                                Schedule D, line
               Name
                                                                                                      Schedule E/F, line
                                                                                                      Schedule G, line
               Number             Street
               City                                      State                       ZIP Code




Official Form 106H                                                              Schedule H: Your Codebtors                                 Page 1 of 1


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Fill in this information to identify your case:

Debtor 1                      Steven Michael Puttonen

Debtor 2                      Laura Gibson Puttonen
(Spouse, if filing)

United States Bankruptcy Court for the:       NORTHERN DISTRICT OF ALABAMA, EASTERN
                                              DIVISION

Case number                                                                                             Check if this is:
(If known)
                                                                                                           An amended filing
                                                                                                           A supplement showing postpetition chapter
                                                                                                           13 income as of the following date:

Official Form 106I                                                                                         MM / DD/ YYYY
Schedule I: Your Income                                                                                                                            12/15
Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your
spouse. If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed,
attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

Part 1:               Describe Employment

1.     Fill in your employment
       information.                                                Debtor 1                                   Debtor 2 or non-filing spouse

       If you have more than one job,                                 Employed                                   Employed
       attach a separate page with           Employment status
       information about additional                                   Not employed                               Not employed
       employers.
                                             Occupation            Sales                                      Unemployed
       Include part-time, seasonal, or
       self-employed work.                   Employer's name       Clayton Homes

       Occupation may include student        Employer's address
                                                                   5000 Clayton Rd
       or homemaker, if it applies.
                                                                   Maryville, TN 37802

                                             How long employed there?         7 months

Part 2:               Give Details About Monthly Income

Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
spouse unless you are separated.

If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If you need
more space, attach a separate sheet to this form.

                                                                                                      For Debtor 1       For Debtor 2 or
                                                                                                                         non-filing spouse

       List monthly gross wages, salary, and commissions (before all payroll
2.     deductions). If not paid monthly, calculate what the monthly wage would be.          2.    $        5,000.67      $              0.00

3.     Estimate and list monthly overtime pay.                                              3.   +$             0.00     +$             0.00

4.     Calculate gross Income. Add line 2 + line 3.                                         4.    $      5,000.67            $        0.00




Official Form 106I                                                      Schedule I: Your Income                                                 page 1
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Debtor 1    Steven Michael Puttonen
Debtor 2    Laura Gibson Puttonen                                                                Case number (if known)



                                                                                                     For Debtor 1          For Debtor 2 or
                                                                                                                           non-filing spouse
     Copy line 4 here                                                                     4.         $      5,000.67       $             0.00

5.   List all payroll deductions:
     5a.     Tax, Medicare, and Social Security deductions                                5a.        $      1,022.67   $                    0.00
     5b.     Mandatory contributions for retirement plans                                 5b.        $          0.00   $                    0.00
     5c.     Voluntary contributions for retirement plans                                 5c.        $          0.00   $                    0.00
     5d.     Required repayments of retirement fund loans                                 5d.        $          0.00   $                    0.00
     5e.     Insurance                                                                    5e.        $        260.00   $                    0.00
     5f.     Domestic support obligations                                                 5f.        $          0.00   $                    0.00
     5g.     Union dues                                                                   5g.        $          0.00   $                    0.00
     5h.     Other deductions. Specify: Life Insurance                                    5h.+       $         34.67 + $                    0.00
6.   Add the payroll deductions. Add lines 5a+5b+5c+5d+5e+5f+5g+5h.                       6.     $          1,317.34       $                0.00
7.   Calculate total monthly take-home pay. Subtract line 6 from line 4.                  7.     $          3,683.33       $                0.00
8.   List all other income regularly received:
     8a. Net income from rental property and from operating a business,
            profession, or farm
            Attach a statement for each property and business showing gross
            receipts, ordinary and necessary business expenses, and the total
            monthly net income.                                                           8a.        $              0.00   $                0.00
     8b. Interest and dividends                                                           8b.        $              0.00   $                0.00
     8c. Family support payments that you, a non-filing spouse, or a dependent
            regularly receive
            Include alimony, spousal support, child support, maintenance, divorce
            settlement, and property settlement.                                          8c.        $              0.00   $                0.00
     8d. Unemployment compensation                                                        8d.        $              0.00   $                0.00
     8e. Social Security                                                                  8e.        $              0.00   $                0.00
     8f.    Other government assistance that you regularly receive
            Include cash assistance and the value (if known) of any non-cash assistance
            that you receive, such as food stamps (benefits under the Supplemental
            Nutrition Assistance Program) or housing subsidies.
            Specify:                                                                      8f.  $                    0.00   $            0.00
     8g. Pension or retirement income                                                     8g. $                     0.00   $            0.00
     8h. Other monthly income. Specify: VA Disability                                     8h.+ $                    0.00 + $        1,487.00

9.   Add all other income. Add lines 8a+8b+8c+8d+8e+8f+8g+8h.                             9.     $                  0.00   $           1,487.00

10. Calculate monthly income. Add line 7 + line 9.                                    10. $              3,683.33 + $       1,487.00 = $           5,170.33
    Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.
11. State all other regular contributions to the expenses that you list in Schedule J.
    Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and
    other friends or relatives.
    Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
    Specify:                                                                                                                  11. +$                   0.00

12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
    Write that amount on the Summary of Schedules and Statistical Summary of Certain Liabilities and Related Data, if it
    applies                                                                                                                      12.    $          5,170.33
                                                                                                                                        Combined
                                                                                                                                        monthly income
13. Do you expect an increase or decrease within the year after you file this form?
          No.
          Yes. Explain:




Official Form 106I                                                     Schedule I: Your Income                                                      page 2
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Fill in this information to identify your case:

Debtor 1                 Steven Michael Puttonen                                                            Check if this is:
                                                                                                                An amended filing
Debtor 2                 Laura Gibson Puttonen                                                                  A supplement showing postpetition chapter
(Spouse, if filing)                                                                                             13 expenses as of the following date:

United States Bankruptcy Court for the:   NORTHERN DISTRICT OF ALABAMA,                                               MM / DD / YYYY
                                          EASTERN DIVISION

Case number
(If known)



Official Form 106J
Schedule J: Your Expenses                                                                                                                                 12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

Part 1:   Describe Your Household
1. Is this a joint case?
           No. Go to line 2.
           Yes. Does Debtor 2 live in a separate household?

                      No
                      Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.

2.    Do you have dependents?               No
      Do not list Debtor 1 and              Yes.    Fill out this information for   Dependent’s relationship to          Dependent’s    Does dependent
      Debtor 2.                                     each dependent..............    Debtor 1 or Debtor 2                 age            live with you?

      Do not state the                                                                                                                       No
      dependents names.                                                                                                                      Yes
                                                                                                                                             No
                                                                                                                                             Yes
                                                                                                                                             No
                                                                                                                                             Yes
                                                                                                                                             No
                                                                                                                                             Yes
3.    Do your expenses include                     No
      expenses of people other than
      yourself and your dependents?                Yes

Part 2:    Estimate Your Ongoing Monthly Expenses
Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
applicable date.

Include expenses paid for with non-cash government assistance if you know
the value of such assistance and have included it on Schedule I: Your Income
(Official Form 106I.)                                                                                                        Your expenses


4.    The rental or home ownership expenses for your residence. Include first mortgage
      payments and any rent for the ground or lot.                                                           4. $                                  0.00

      If not included in line 4:

      4a. Real estate taxes                                                                                4a.    $                                0.00
      4b. Property, homeowner’s, or renter’s insurance                                                     4b.    $                                0.00
      4c. Home maintenance, repair, and upkeep expenses                                                    4c.    $                                0.00
      4d. Homeowner’s association or condominium dues                                                      4d.    $                                0.00
5.    Additional mortgage payments for your residence, such as home equity loans                            5.    $                                0.00



Official Form 106J                                                    Schedule J: Your Expenses                                                           page 1

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Debtor 1     Steven Michael Puttonen
Debtor 2     Laura Gibson Puttonen                                                                     Case number (if known)

6.    Utilities:
      6a. Electricity, heat, natural gas                                                     6a. $                                                 350.00
      6b. Water, sewer, garbage collection                                                   6b. $                                                 160.00
      6c. Telephone, cell phone, Internet, satellite, and cable services                     6c. $                                                 225.00
      6d. Other. Specify:                                                                    6d. $                                                   0.00
7.    Food and housekeeping supplies                                                           7. $                                                556.00
8.    Childcare and children’s education costs                                                 8. $                                                  0.00
9.    Clothing, laundry, and dry cleaning                                                      9. $                                                  0.00
10.   Personal care products and services                                                    10. $                                                 175.00
11.   Medical and dental expenses                                                            11. $                                                   0.00
12.   Transportation. Include gas, maintenance, bus or train fare.
      Do not include car payments.                                                           12. $                                                 200.00
13.   Entertainment, clubs, recreation, newspapers, magazines, and books                     13. $                                                   0.00
14.   Charitable contributions and religious donations                                       14. $                                                   0.00
15.   Insurance.
      Do not include insurance deducted from your pay or included in lines 4 or 20.
      15a. Life insurance                                                                  15a. $                                                    0.00
      15b. Health insurance                                                                15b. $                                                    0.00
      15c. Vehicle insurance                                                               15c. $                                                  275.00
      15d. Other insurance. Specify:                                                       15d. $                                                    0.00
16.   Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
      Specify:                                                                               16. $                                                    0.00
17.   Installment or lease payments:
      17a. Car payments for Vehicle 1                                                      17a. $                                                    0.00
      17b. Car payments for Vehicle 2                                                      17b. $                                                    0.00
      17c. Other. Specify: Aaron's                                                         17c. $                                                  100.00
      17d. Other. Specify:                                                                 17d. $                                                    0.00
18.   Your payments of alimony, maintenance, and support that you did not report as
      deducted from your pay on line 5, Schedule I, Your Income (Official Form 106I).        18. $                                                    0.00
19.   Other payments you make to support others who do not live with you.                         $                                                   0.00
      Specify:                                                                               19.
20.   Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.
      20a. Mortgages on other property                                                     20a. $                                                     0.00
      20b. Real estate taxes                                                               20b. $                                                     0.00
      20c. Property, homeowner’s, or renter’s insurance                                    20c. $                                                     0.00
      20d. Maintenance, repair, and upkeep expenses                                        20d. $                                                     0.00
      20e. Homeowner’s association or condominium dues                                     20e. $                                                     0.00
21.   Other: Specify:                                                                        21. +$                                                   0.00
22. Calculate your monthly expenses
    22a. Add lines 4 through 21.                                                                                     $                       2,041.00
    22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2                             $
      22c. Add line 22a and 22b. The result is your monthly expenses.                                                $                       2,041.00
23. Calculate your monthly net income.
    23a. Copy line 12 (your combined monthly income) from Schedule I.                                      23a. $                               5,170.33
    23b. Copy your monthly expenses from line 22c above.                                                   23b. -$                              2,041.00

      23c. Subtract your monthly expenses from your monthly income.
           The result is your monthly net income.                                                           23c. $                              3,129.33

24. Do you expect an increase or decrease in your expenses within the year after you file this form?
      For example, do you expect to finish paying for your car loan within the year or do you expect your mortgage payment to increase or decrease because of a
      modification to the terms of your mortgage?
         No.
         Yes.             Explain here:




Official Form 106J                                                  Schedule J: Your Expenses                                                                     page 2

      Case 24-40556-JJR13                        Doc 1       Filed 05/15/24 Entered 05/15/24 16:56:58                                        Desc Main
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Fill in this information to identify your case:

Debtor 1                    Steven Michael Puttonen
                            First Name            Middle Name              Last Name

Debtor 2                    Laura Gibson Puttonen
(Spouse if, filing)         First Name            Middle Name              Last Name


United States Bankruptcy Court for the:      NORTHERN DISTRICT OF ALABAMA, EASTERN DIVISION

Case number
(if known)                                                                                                                   Check if this is an
                                                                                                                             amended filing



Official Form 106Dec
Declaration About an Individual Debtor's Schedules                                                                                                 12/15

If two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                      Sign Below


       Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

               No

               Yes. Name of person                                                                     Attach Bankruptcy Petition Preparer’s Notice,
                                                                                                       Declaration, and Signature (Official Form 119)


      Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and
      that they are true and correct.

       X /s/ Steven Michael Puttonen                                       X   /s/ Laura Gibson Puttonen
             Steven Michael Puttonen                                           Laura Gibson Puttonen
             Signature of Debtor 1                                             Signature of Debtor 2

             Date       May 15, 2024                                           Date    May 15, 2024




Official Form 106Dec                              Declaration About an Individual Debtor's Schedules




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Fill in this information to identify your case:

Debtor 1                  Steven Michael Puttonen
                          First Name                  Middle Name                   Last Name

Debtor 2                  Laura Gibson Puttonen
(Spouse if, filing)       First Name                  Middle Name                   Last Name


United States Bankruptcy Court for the:          NORTHERN DISTRICT OF ALABAMA, EASTERN DIVISION

Case number
(if known)                                                                                                                              Check if this is an
                                                                                                                                        amended filing



Official Form 107
Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                                          04/22
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

Part 1:        Give Details About Your Marital Status and Where You Lived Before

1.    What is your current marital status?

              Married
              Not married

2.    During the last 3 years, have you lived anywhere other than where you live now?

              No
              Yes. List all of the places you lived in the last 3 years. Do not include where you live now.

       Debtor 1:                                          Dates Debtor 1               Debtor 2 Prior Address:                              Dates Debtor 2
                                                          lived there                                                                       lived there

3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? (Community property
states and territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington and Wisconsin.)

              No
              Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).

Part 2         Explain the Sources of Your Income

4.    Did you have any income from employment or from operating a business during this year or the two previous calendar years?
      Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
      If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

              No
              Yes. Fill in the details.

                                               Debtor 1                                                       Debtor 2
                                               Sources of income               Gross income                   Sources of income             Gross income
                                               Check all that apply.           (before deductions and         Check all that apply.         (before deductions
                                                                               exclusions)                                                  and exclusions)

From January 1 of current year until              Wages, commissions,                      $20,483.00            Wages, commissions,                 $4,328.00
the date you filed for bankruptcy:
                                               bonuses, tips                                                  bonuses, tips

                                                  Operating a business                                           Operating a business




Official Form 107                                 Statement of Financial Affairs for Individuals Filing for Bankruptcy                                        page 1



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Debtor 1     Steven Michael Puttonen
Debtor 2     Laura Gibson Puttonen                                                                     Case number (if known)


                                                Debtor 1                                                       Debtor 2
                                                Sources of income               Gross income                   Sources of income            Gross income
                                                Check all that apply.           (before deductions and         Check all that apply.        (before deductions
                                                                                exclusions)                                                 and exclusions)

For last calendar year:                            Wages, commissions,                      $32,619.00            Wages, commissions,              $19,048.00
(January 1 to December 31, 2023 )
                                                bonuses, tips                                                  bonuses, tips

                                                   Operating a business                                           Operating a business

For the calendar year before that:                 Wages, commissions,                      $21,370.00            Wages, commissions,              $21,370.00
(January 1 to December 31, 2022 )
                                                bonuses, tips                                                  bonuses, tips

                                                   Operating a business                                           Operating a business


5.   Did you receive any other income during this year or the two previous calendar years?
     Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security, unemployment,
     and other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and gambling and lottery
     winnings. If you are filing a joint case and you have income that you received together, list it only once under Debtor 1.

     List each source and the gross income from each source separately. Do not include income that you listed in line 4.

           No
           Yes. Fill in the details.

                                                Debtor 1                                                       Debtor 2
                                                Sources of income               Gross income from              Sources of income            Gross income
                                                Describe below.                 each source                    Describe below.              (before deductions
                                                                                (before deductions and                                      and exclusions)
                                                                                exclusions)
From January 1 of current year until                                                               $0.00       VA Disability                         $7,435.00
the date you filed for bankruptcy:

For last calendar year:                                                                            $0.00       VA Disability                        $17,289.00
(January 1 to December 31, 2023 )

For the calendar year before that:                                                                 $0.00       VA Disability                        $15,905.00
(January 1 to December 31, 2022 )


Part 3:     List Certain Payments You Made Before You Filed for Bankruptcy

6.   Are either Debtor 1’s or Debtor 2’s debts primarily consumer debts?
          No. Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as “incurred by an
                individual primarily for a personal, family, or household purpose.”

                    During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $7,575* or more?
                        No.     Go to line 7.
                        Yes     List below each creditor to whom you paid a total of $7,575* or more in one or more payments and the total amount you
                                paid that creditor. Do not include payments for domestic support obligations, such as child support and alimony. Also, do
                                not include payments to an attorney for this bankruptcy case.
                    * Subject to adjustment on 4/01/25 and every 3 years after that for cases filed on or after the date of adjustment.

           Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.
                During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

                        No.     Go to line 7.
                        Yes     List below each creditor to whom you paid a total of $600 or more and the total amount you paid that creditor. Do not
                                include payments for domestic support obligations, such as child support and alimony. Also, do not include payments to an
                                attorney for this bankruptcy case.


      Creditor's Name and Address                          Dates of payment              Total amount          Amount you       Was this payment for ...
                                                                                                 paid            still owe


Official Form 107                                  Statement of Financial Affairs for Individuals Filing for Bankruptcy                                    page 2



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Debtor 1     Steven Michael Puttonen
Debtor 2     Laura Gibson Puttonen                                                                    Case number (if known)


7.   Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
     Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner; corporations
     of which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing agent, including one for
     a business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations, such as child support and
     alimony.

           No
           Yes. List all payments to an insider.
      Insider's Name and Address                          Dates of payment              Total amount          Amount you       Reason for this payment
                                                                                                paid            still owe

8.   Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited an
     insider?
     Include payments on debts guaranteed or cosigned by an insider.

           No
           Yes. List all payments to an insider
      Insider's Name and Address                          Dates of payment              Total amount          Amount you       Reason for this payment
                                                                                                paid            still owe      Include creditor's name

Part 4:     Identify Legal Actions, Repossessions, and Foreclosures

9.   Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
     List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody
     modifications, and contract disputes.

           No
           Yes. Fill in the details.
      Case title                                          Nature of the case           Court or agency                         Status of the case
      Case number
      State Of Delaware vs Steven                         STATE TAX LIEN               New Castle Superior Court,                 Pending
      Puttonen & Laura Puttonen                                                        Delaware                                   On appeal
      N18J01672
                                                                                                                                  Concluded

                                                                                                                               - 311.00

      Republic Finance Llc v Laura G                      Collections                  District Court of Talladega                Pending
      Puttonen                                                                         County, AL                                 On appeal
      61-SM-2024-900192
                                                                                                                                  Concluded

                                                                                                                               Judgment 3/12/24

      Gulfco of AL Llc dba Tower Loan                     Collections                  District Court of Talladega                Pending
      of Pell City v Laura Puttonen                                                    County, AL                                 On appeal
      61-SM-2023-900953
                                                                                                                                  Concluded

                                                                                                                               Pending Judgment

      Western Sizzlin Steakhouse &                        Negligence                   District Court of Calhoun                  Pending
      Buffet v Ecolab Inc et al                                                        County, Al                                 On appeal
      11-CV-2024-900159
                                                                                                                                  Concluded

                                                                                                                               Pending Judgment




Official Form 107                                 Statement of Financial Affairs for Individuals Filing for Bankruptcy                                   page 3



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Debtor 1     Steven Michael Puttonen
Debtor 2     Laura Gibson Puttonen                                                                       Case number (if known)


10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
    Check all that apply and fill in the details below.

           No. Go to line 11.
           Yes. Fill in the information below.
      Creditor Name and Address                              Describe the Property                                          Date                     Value of the
                                                                                                                                                        property
                                                             Explain what happened

11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your
    accounts or refuse to make a payment because you owed a debt?
           No
           Yes. Fill in the details.
      Creditor Name and Address                              Describe the action the creditor took                          Date action was              Amount
                                                                                                                            taken

12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of creditors, a
    court-appointed receiver, a custodian, or another official?

           No
           Yes

Part 5:     List Certain Gifts and Contributions

13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?
           No
           Yes. Fill in the details for each gift.
      Gifts with a total value of more than $600                   Describe the gifts                                       Dates you gave                 Value
      per person                                                                                                            the gifts

      Person to Whom You Gave the Gift and
      Address:

14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?
           No
           Yes. Fill in the details for each gift or contribution.
      Gifts or contributions to charities that total               Describe what you contributed                            Dates you                      Value
      more than $600                                                                                                        contributed
      Charity's Name
      Address (Number, Street, City, State and ZIP Code)

Part 6:     List Certain Losses

15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other disaster,
    or gambling?

           No
           Yes. Fill in the details.
      Describe the property you lost and                 Describe any insurance coverage for the loss                       Date of your        Value of property
      how the loss occurred                              Include the amount that insurance has paid. List pending           loss                             lost
                                                         insurance claims on line 33 of Schedule A/B: Property.

Part 7:     List Certain Payments or Transfers

16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone you
    consulted about seeking bankruptcy or preparing a bankruptcy petition?
    Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

           No
           Yes. Fill in the details.
      Person Who Was Paid                                          Description and value of any property                    Date payment              Amount of
      Address                                                      transferred                                              or transfer was            payment
      Email or website address                                                                                              made
      Person Who Made the Payment, if Not You
Official Form 107                                    Statement of Financial Affairs for Individuals Filing for Bankruptcy                                   page 4



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Debtor 1      Steven Michael Puttonen
Debtor 2      Laura Gibson Puttonen                                                                      Case number (if known)


      Person Who Was Paid                                          Description and value of any property                    Date payment               Amount of
      Address                                                      transferred                                              or transfer was             payment
      Email or website address                                                                                              made
      Person Who Made the Payment, if Not You
      Bond, Botes & Handy, P.C.                                    Attorney Fees                                            4/2024                        $88.00
      430-B Chestnut Street
      Gadsden, AL 35901-4213
      jpickle@bondandbotes.com


      CIN Legal                                                                                                             4/2024                        $79.00



      CFEFA                                                                                                                 4/2024                        $50.00



17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who
    promised to help you deal with your creditors or to make payments to your creditors?
    Do not include any payment or transfer that you listed on line 16.

           No
           Yes. Fill in the details.
      Person Who Was Paid                                          Description and value of any property                    Date payment               Amount of
      Address                                                      transferred                                              or transfer was             payment
                                                                                                                            made

18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property
    transferred in the ordinary course of your business or financial affairs?
    Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property). Do not
    include gifts and transfers that you have already listed on this statement.
           No
           Yes. Fill in the details.
      Person Who Received Transfer                                 Description and value of                   Describe any property or          Date transfer was
      Address                                                      property transferred                       payments received or debts        made
                                                                                                              paid in exchange
      Person's relationship to you

19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you are a
    beneficiary? (These are often called asset-protection devices.)
           No
           Yes. Fill in the details.
      Name of trust                                                Description and value of the property transferred                            Date Transfer was
                                                                                                                                                made

Part 8:       List of Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units

20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit, closed,
    sold, moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions, brokerage
    houses, pension funds, cooperatives, associations, and other financial institutions.
           No
           Yes. Fill in the details.
      Name of Financial Institution and                      Last 4 digits of            Type of account or           Date account was               Last balance
      Address (Number, Street, City, State and ZIP           account number              instrument                   closed, sold,              before closing or
      Code)                                                                                                           moved, or                           transfer
                                                                                                                      transferred




Official Form 107                                    Statement of Financial Affairs for Individuals Filing for Bankruptcy                                    page 5



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21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for securities,
    cash, or other valuables?

           No
           Yes. Fill in the details.
      Name of Financial Institution                              Who else had access to it?                 Describe the contents             Do you still
      Address (Number, Street, City, State and ZIP Code)         Address (Number, Street, City,                                               have it?
                                                                 State and ZIP Code)


22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?

           No
           Yes. Fill in the details.
      Name of Storage Facility                                   Who else has or had access                 Describe the contents             Do you still
      Address (Number, Street, City, State and ZIP Code)         to it?                                                                       have it?
                                                                 Address (Number, Street, City,
                                                                 State and ZIP Code)

Part 9:     Identify Property You Hold or Control for Someone Else

23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for, or hold in trust
    for someone.

           No
           Yes. Fill in the details.
      Owner's Name                                               Where is the property?                     Describe the property                        Value
      Address (Number, Street, City, State and ZIP Code)         (Number, Street, City, State and ZIP
                                                                 Code)

Part 10:    Give Details About Environmental Information

For the purpose of Part 10, the following definitions apply:

     Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of hazardous or
     toxic substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium, including statutes or
     regulations controlling the cleanup of these substances, wastes, or material.
     Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or utilize it or used
     to own, operate, or utilize it, including disposal sites.
     Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic substance,
     hazardous material, pollutant, contaminant, or similar term.

Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?

           No
           Yes. Fill in the details.
      Name of site                                               Governmental unit                             Environmental law, if you      Date of notice
      Address (Number, Street, City, State and ZIP Code)         Address (Number, Street, City, State and      know it
                                                                 ZIP Code)

25. Have you notified any governmental unit of any release of hazardous material?

           No
           Yes. Fill in the details.
      Name of site                                               Governmental unit                             Environmental law, if you      Date of notice
      Address (Number, Street, City, State and ZIP Code)         Address (Number, Street, City, State and      know it
                                                                 ZIP Code)




Official Form 107                                  Statement of Financial Affairs for Individuals Filing for Bankruptcy                                      page 6



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Debtor 2      Laura Gibson Puttonen                                                                     Case number (if known)


26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

            No
            Yes. Fill in the details.
       Case Title                                                 Court or agency                       Nature of the case                    Status of the
       Case Number                                                Name                                                                        case
                                                                  Address (Number, Street, City,
                                                                  State and ZIP Code)

Part 11:     Give Details About Your Business or Connections to Any Business

27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?
                A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time

                A member of a limited liability company (LLC) or limited liability partnership (LLP)

                A partner in a partnership

                An officer, director, or managing executive of a corporation

                An owner of at least 5% of the voting or equity securities of a corporation

            No. None of the above applies. Go to Part 12.
            Yes. Check all that apply above and fill in the details below for each business.
       Business Name                                        Describe the nature of the business               Employer Identification number
       Address                                                                                                Do not include Social Security number or ITIN.
       (Number, Street, City, State and ZIP Code)           Name of accountant or bookkeeper
                                                                                                              Dates business existed

28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial
    institutions, creditors, or other parties.

            No
            Yes. Fill in the details below.
       Name                                                 Date Issued
       Address
       (Number, Street, City, State and ZIP Code)

Part 12:     Sign Below

I have read the answers on this Statement of Financial Affairs and any attachments, and I declare under penalty of perjury that the answers
are true and correct. I understand that making a false statement, concealing property, or obtaining money or property by fraud in connection
with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
18 U.S.C. §§ 152, 1341, 1519, and 3571.

/s/ Steven Michael Puttonen                                           /s/ Laura Gibson Puttonen
Steven Michael Puttonen                                               Laura Gibson Puttonen
Signature of Debtor 1                                                 Signature of Debtor 2

Date      May 15, 2024                                                Date       May 15, 2024

Did you attach additional pages to Your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?
   No
   Yes

Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?
   No
   Yes. Name of Person                 . Attach the Bankruptcy Petition Preparer's Notice, Declaration, and Signature (Official Form 119).




Official Form 107                                   Statement of Financial Affairs for Individuals Filing for Bankruptcy                                  page 7



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Fill in this information to identify your case:                                                             Check as directed in lines 17 and 21:

Debtor 1              Steven Michael Puttonen                                                                 According to the calculations required by this
                                                                                                              Statement:
Debtor 2              Laura Gibson Puttonen                                                                         1. Disposable income is not determined under
(Spouse, if filing)                                                                                                    11 U.S.C. § 1325(b)(3).
                                              Northern District of Alabama, Eastern                                 2. Disposable income is determined under 11
United States Bankruptcy Court for the:       Division                                                                 U.S.C. § 1325(b)(3).

Case number                                                                                                         3. The commitment period is 3 years.
(if known)

                                                                                                                    4. The commitment period is 5 years.

                                                                                                                  Check if this is an amended filing

Official Form 122C-1
Chapter 13 Statement of Your Current Monthly Income
and Calculation of Commitment Period                                                                                                                              10/19

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being accurate. If more
space is needed, attach a separate sheet to this form. Include the line number to which the additional information applies. On the top of any
additional pages, write your name and case number (if known).

Part 1:           Calculate Your Average Monthly Income

  1. What is your marital and filing status? Check one only.
             Not married. Fill out Column A, lines 2-11.
             Married. Fill out both Columns A and B, lines 2-11.


   Fill in the average monthly income that you received from all sources, derived during the 6 full months before you file this bankruptcy case. 11 U.S.C. §
   101(10A). For example, if you are filing on September 15, the 6-month period would be March 1 through August 31. If the amount of your monthly income varied during
   the 6 months, add the income for all 6 months and divide the total by 6. Fill in the result. Do not include any income amount more than once. For example, if both
   spouses own the same rental property, put the income from that property in one column only. If you have nothing to report for any line, write $0 in the space.
                                                                                                      Column A                 Column B
                                                                                                      Debtor 1                 Debtor 2 or
                                                                                                                               non-filing spouse
  2. Your gross wages, salary, tips, bonuses, overtime, and commissions (before all
     payroll deductions).                                                           $                           4,628.76       $         2,008.30
  3. Alimony and maintenance payments. Do not include payments from a spouse if
     Column B is filled in.                                                                           $              0.00      $               0.00
  4. All amounts from any source which are regularly paid for household expenses
     of you or your dependents, including child support. Include regular contributions
     from an unmarried partner, members of your household, your dependents, parents,
     and roommates. Do not include payments from a spouse. Do not include payments
     you listed on line 3.                                                             $                             0.00      $               0.00
  5. Net income from operating a business,
     profession, or farm                                           Debtor 1
       Gross receipts (before all deductions)                         $       0.00
       Ordinary and necessary operating expenses                     -$       0.00
       Net monthly income from a business, profession, or farm $              0.00 Copy here -> $                    0.00      $               0.00
  6. Net income from rental and other real property                Debtor 1
       Gross receipts (before all deductions)                        $      0.00
       Ordinary and necessary operating expenses                     -$       0.00
       Net monthly income from rental or other real property         $        0.00 Copy here -> $                    0.00      $               0.00




Official Form 122C-1          Chapter 13 Statement of Your Current Monthly Income and Calculation of Commitment Period                                        page 1


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Debtor 2     Laura Gibson Puttonen                                                                      Case number (if known)



                                                                                                    Column A                      Column B
                                                                                                    Debtor 1                      Debtor 2 or
                                                                                                                                  non-filing spouse
                                                                                                    $                  0.00       $            0.00
  7. Interest, dividends, and royalties
  8. Unemployment compensation                                                                      $                  0.00       $           0.00
      Do not enter the amount if you contend that the amount received was a benefit under
      the Social Security Act. Instead, list it here:
         For you                                          $                    0.00
           For your spouse                                       $                  0.00
  9. Pension or retirement income. Do not include any amount received that was a
     benefit under the Social Security Act. Also, except as stated in the next sentence, do
     not include any compensation, pension, pay, annuity, or allowance paid by the
     United States Government in connection with a disability, combat-related injury or
     disability, or death of a member of the uniformed services. If you received any retired
     pay paid under chapter 61 of title 10, then include that pay only to the extent that it
     does not exceed the amount of retired pay to which you would otherwise be entitled
     if retired under any provision of title 10 other than chapter 61 of that title.         $                         0.00       $           0.00
  10. Income from all other sources not listed above. Specify the source and amount.
      Do not include any benefits received under the Social Security Act; payments
      received as a victim of a war crime, a crime against humanity, or international or
      domestic terrorism; or compensation, pension, pay, annuity, or allowance paid by the
      United States Government in connection with a disability, combat-related injury or
      disability, or death of a member of the uniformed services. If necessary, list other
      sources on a separate page and put the total below.
                                                                                                    $                  0.00       $           0.00
                                                                                                    $                  0.00       $           0.00
                Total amounts from separate pages, if any.                                     +    $                  0.00       $           0.00

  11. Calculate your total average monthly income. Add lines 2 through 10 for
      each column. Then add the total for Column A to the total for Column B.          $           4,628.76           +$         2,008.30    =$          6,637.06

                                                                                                                                                      Total average
                                                                                                                                                      monthly income
Part 2:        Determine How to Measure Your Deductions from Income

  12. Copy your total average monthly income from line 11.                                                                                    $          6,637.06
  13. Calculate the marital adjustment. Check one:
             You are not married. Fill in 0 below.
             You are married and your spouse is filing with you. Fill in 0 below.
             You are married and your spouse is not filing with you.
             Fill in the amount of the income listed in line 11, Column B, that was NOT regularly paid for the household expenses of you or your
             dependents, such as payment of the spouse's tax liability or the spouse's support of someone other than you or your dependents.
             Below, specify the basis for excluding this income and the amount of income devoted to each purpose. If necessary, list additional
             adjustments on a separate page.
             If this adjustment does not apply, enter 0 below.
                                                                                           $
                                                                                           $
                                                                                      +$

                   Total                                                               $                       0.00         Copy here=>           -               0.00


  14. Your current monthly income. Subtract line 13 from line 12.                                                                             $          6,637.06

  15. Calculate your current monthly income for the year. Follow these steps:
       15a. Copy line 14 here=>                                                                                                               $          6,637.06



Official Form 122C-1         Chapter 13 Statement of Your Current Monthly Income and Calculation of Commitment Period                                           page 2



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Debtor 2     Laura Gibson Puttonen                                                                         Case number (if known)


               Multiply line 15a by 12 (the number of months in a year).                                                                                 x 12

       15b. The result is your current monthly income for the year for this part of the form. ...........................................            $     79,644.72


  16. Calculate the median family income that applies to you. Follow these steps:
      16a. Fill in the state in which you live.                                AL

      16b. Fill in the number of people in your household.                      2
      16c. Fill in the median family income for your state and size of household.                                                                    $     72,419.00
           To find a list of applicable median income amounts, go online using the link specified in the separate
           instructions for this form. This list may also be available at the bankruptcy clerk's office.
  17. How do the lines compare?
      17a.          Line 15b is less than or equal to line 16c. On the top of page 1 of this form, check box 1, Disposable income is not determined under
                    11 U.S.C. § 1325(b)(3). Go to Part 3. Do NOT fill out Calculation of Your Disposable Income (Official Form 122C-2).

      17b.          Line 15b is more than line 16c. On the top of page 1 of this form, check box 2, Disposable income is determined under 11 U.S.C. §
                    1325(b)(3). Go to Part 3 and fill out Calculation of Your Disposable Income (Official Form 122C-2). On line 39 of that form, copy
                    your current monthly income from line 14 above.
Part 3:       Calculate Your Commitment Period Under 11 U.S.C. § 1325(b)(4)

18. Copy your total average monthly income from line 11 .                                                                                   $                   6,637.06
19. Deduct the marital adjustment if it applies. If you are married, your spouse is not filing with you, and you
    contend that calculating the commitment period under 11 U.S.C. § 1325(b)(4) allows you to deduct part of your
    spouse's income, copy the amount from line 13.
    19a. If the marital adjustment does not apply, fill in 0 on line 19a.                                                                   -$                     0.00


      19b. Subtract line 19a from line 18.                                                                                                       $          6,637.06


20. Calculate your current monthly income for the year. Follow these steps:
      20a. Copy line 19b                                                                                                                             $      6,637.06

             Multiply by 12 (the number of months in a year).                                                                                            x 12

      20b. The result is your current monthly income for the year for this part of the form                                                          $     79,644.72




      20c. Copy the median family income for your state and size of household from line 16c                                                          $     72,419.00


      21. How do the lines compare?

                  Line 20b is less than line 20c. Unless otherwise ordered by the court, on the top of page 1 of this form, check box 3, The commitment
                  period is 3 years. Go to Part 4.

                  Line 20b is more than or equal to line 20c. Unless otherwise ordered by the court, on the top of page 1 of this form, check box 4, The
                  commitment period is 5 years. Go to Part 4.

Part 4:       Sign Below
      By signing here, under penalty of perjury I declare that the information on this statement and in any attachments is true and correct.

   X /s/ Steven Michael Puttonen                                                          X /s/ Laura Gibson Puttonen
       Steven Michael Puttonen                                                                Laura Gibson Puttonen
       Signature of Debtor 1                                                                  Signature of Debtor 2
      Date May 15, 2024                                                                       Date May 15, 2024
           MM / DD / YYYY                                                                          MM / DD / YYYY
      If you checked 17a, do NOT fill out or file Form 122C-2.

Official Form 122C-1        Chapter 13 Statement of Your Current Monthly Income and Calculation of Commitment Period                                              page 3



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Debtor 2    Laura Gibson Puttonen                                                               Case number (if known)


      If you checked 17b, fill out Form 122C-2 and file it with this form. On line 39 of that form, copy your current monthly income from line 14 above.




Official Form 122C-1      Chapter 13 Statement of Your Current Monthly Income and Calculation of Commitment Period                                page 4



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Fill in this information to identify your case:

Debtor 1          Steven Michael Puttonen

Debtor 2           Laura Gibson Puttonen
(Spouse, if filing)

                                            Northern District of Alabama, Eastern
United States Bankruptcy Court for the:     Division

Case number
(if known)                                                                                                 Check if this is an amended filing

Official Form 122C-2
Chapter 13 Calculation of Your Disposable Income                                                                                                  04/22

To fill out this form, you will need your completed copy of Chapter 13 Statement of Your Current Monthly Income and Calculation of
Commitment Period (Official Form 122C-1).

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being accurate. If more
space is needed, attach a separate sheet to this form, Include the line number to which additional information applies. On the top any
additional pages, write your name and case number (if known).

Part 1:       Calculate Your Deductions from Your Income

   The Internal Revenue Service (IRS) issues National and Local Standards for certain expense amounts. Use these amounts to answer the
   the questions in lines 6-15. To find the IRS standards, go online using the link specified in the separate instructions for this form. This
   information may also be available at the bankruptcy clerk’s office.

   Deduct the expense amounts set out in lines 6-15 regardless of your actual expense. In later parts of the form, you will use some of your actual
   expenses if they are higher than the standards. Do not include any operating expenses that you subtracted from income in lines 5 and 6 of Form
   122C–1, and do not deduct any amounts that you subtracted from your spouse’s income in line 13 of Form 122C–1.

   If your expenses differ from month to month, enter the average expense.

   Note: Line numbers 1-4 are not used in this form. These numbers apply to information required by a similar form used in chapter 7 cases.

   5.     The number of people used in determining your deductions from income

          Fill in the number of people who could be claimed as exemptions on your federal income tax return,
          plus the number of any additional dependents whom you support. This number may be different from                   2
          the number of people in your household.



   National Standards              You must use the IRS National Standards to answer the questions in lines 6-7.



   6.     Food, clothing, and other items: Using the number of people you entered in line 5 and the IRS National
          Standards, fill in the dollar amount for food, clothing, and other items.                                              $          1,389.00


   7.     Out-of-pocket health care allowance: Using the number of people you entered in line 5 and the IRS National Standards, fill in
          the dollar amount for out-of-pocket health care. The number of people is split into two categories--people who are under 65 and
          people who are 65 or older--because older people have a higher IRS allowance for health car costs. If your actual expenses are
          higher than this IRS amount, you may deduct the additional amount on line 22.




Official Form 122C-2                              Chapter 13 Calculation of Your Disposable Income                                            page 1



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Debtor 2         Laura Gibson Puttonen                                                             Case number (if known)



   People who are under 65 years of age
           7a. Out-of-pocket health care allowance per person             $             79
           7b. Number of people who are under 65                          X         2
           7c. Subtotal. Multiply line 7a by line 7b.                     $       158.00            Copy here=>        $           158.00

   People who are 65 years of age or older

           7d. Out-of-pocket health care allowance per person             $          154
           7e. Number of people who are 65 or older                       X         0
           7f.    Subtotal. Multiply line 7d by line 7e.                  $         0.00            Copy here=>        $              0.00

           7g. Total. Add line 7c and line 7f                                                $     158.00                   Copy total here=> $        158.00


   Local Standards          You must use the IRS Local Standards to answer the questions in lines 8-15.
   Based on information from the IRS, the U.S. Trustee Program has divided the IRS Local Standard for housing for
   bankruptcy purposes into two parts:
        Housing and utilities - Insurance and operating expenses
        Housing and utilities - Mortgage or rent expenses
   To answer the questions in lines 8-9, use the U.S. Trustee Program chart. To find the chart, go online using the link specified in the
   separate instructions for this form. This chart may also be available at the bankruptcy clerk's office.
   8. Housing and utilities - Insurance and operating expenses: Using the number of people you entered in line 5, fill
       in the dollar amount listed for your county for insurance and operating expenses.                               $               742.00
   9.      Housing and utilities - Mortgage or rent expenses:
           9a. Using the number of people you entered in line 5, fill in the dollar amount
               listed for your county for mortgage or rent expenses.                                                   $           841.00

           9b. Total average monthly payment for all mortgages and other debts secured by your home.
                  To calculate the total average monthly payment, add all amounts that are
                  contractually due to each secured creditor in the 60 months after you file
                  for bankruptcy. Next divide by 60.

                  Name of the creditor                                        Average monthly
                                                                              payment

                  Family Savings Credit Union                                 $          592.00
                  PHH Mortgage                                                $          749.00

                                                                                                    Copy                                       Repeat this amount
                                   9b. Total average monthly payment          $         1,341.00    here=>        -$               1,341.00 on line 33a.

           9c. Net mortgage or rent expense.

                  Subtract line 9b (total average monthly payment) from line 9a (mortgage                                             Copy
                  or rent expense). If this number is less than $0, enter $0.                          $                    0.00      here=>    $           0.00


   10. If you claim that the U.S. Trustee Program's division of the IRS Local Standard for housing is incorrect and
       affects the calculation of your monthly expenses, fill in any additional amount you claim.                                              $            0.00

            Explain why:




Official Form 122C-2                                       Chapter 13 Calculation of Your Disposable Income                                                page 2



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Debtor 2     Laura Gibson Puttonen                                                                              Case number (if known)


   11. Local transportation expenses: Check the number of vehicles for which you claim an ownership or operating expense.

              0. Go to line 14.

              1. Go to line 12.

              2 or more. Go to line 12.
   12. Vehicle operation expense: Using the IRS Local Standards and the number of vehicles for which you claim the
       operating expenses, fill in the Operating Costs that apply for your Census region or metropolitan statistical area.                                  $       684.00
   13. Vehicle ownership or lease expense: Using the IRS Local Standards, calculate the net ownership or lease expense for each vehicle below.
       You may not claim the expense if you do not make any loan or lease payments on the vehicle. In addition, you may not claim the expense for
       more than two vehicles.
    Vehicle 1         Describe Vehicle 1:
                                                2014 Toyota Tundra Limited 165,082 miles
   13a. Ownership or leasing costs using IRS Local Standard..................................................         $             629.00
   13b. Average monthly payment for all debts secured by Vehicle 1.
           Do not include costs for leased vehicles.

           To calculate the average monthly payment here and on line 13e, add all amounts that
           are contractually due to each secured creditor in the 60 months after you file for
           bankruptcy. Then divide by 60.

                Name of each creditor for Vehicle 1                               Average monthly
                                                                                  payment
                Credit Acceptance                                                 $              511.20

                                                                                                                                                     Repeat this
                                                                                                                 Copy                                amount on
                                       Total Average Monthly Payment              $              511.20          here =>       -$          511.20 line 33b.

   13c. Net Vehicle 1 ownership or lease expense                                                                                                Copy net
                                                                                                                                                Vehicle 1
           Subtract line 13b from line 13a. if this number is less than $0, enter $0. .....................                                     expense here
                                                                                                                      $             117.80      =>              $   117.80

    Vehicle 2         Describe Vehicle 2: 2015 Nissan Pathfinder SL 124,335 miles
   13d. Ownership or leasing costs using IRS Local Standard..................................................         $             629.00
   13e. Average monthly payment for all debts secured by Vehicle 2. Do not include costs for
        leased vehicles.

                Name of each creditor for Vehicle 2                               Average monthly
                                                                                  payment

                Credit Acceptance                                                 $              373.03

                                                                                                                 Copy                            Repeat this
                                                                                                                 here                            amount on line
                                       Total average monthly payment              $              373.03          =>                      373.03 33c.
                                                                                                                          -$

   13f. Net Vehicle 2 ownership or lease expense                                                                                                Copy net
                                                                                                                                                Vehicle 2
           Subtract line 13e from line 13d. if this number is less than $0, enter $0. .......................                                   expense here
                                                                                                                      $             255.97      =>              $   255.97

   14. Public transportation expense: If you claimed 0 vehicles in line 11, using the IRS Local Standards, fill in the
       Public Transportation expense allowance regardless of whether you use public transportation.                                                         $         0.00
   15. Additional public transportation expense: If you claimed 1 or more vehicles in line 11 and if you claim that you may
       also deduct a public transportation expense, you may fill in what you believe is the appropriate expense, but you may
       not claim more than the IRS Local Standard for Public Transportation.                                                                                $         0.00




Official Form 122C-2                                     Chapter 13 Calculation of Your Disposable Income                                                           page 3



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Debtor 1     Steven Michael Puttonen
Debtor 2     Laura Gibson Puttonen                                                                  Case number (if known)


   Other Necessary Expenses             In addition to the expense deductions listed above, you are allowed your monthly expenses for
                                        the following IRS categories.
   16. Taxes: The total monthly amount that you will actually pay for federal, state and local taxes, such as income taxes,
       self-employment taxes, social security taxes, and Medicare taxes. You may include the monthly amount withheld from
       your pay for these taxes. However, if you expect to receive a tax refund, you must divide the expected refund by 12
       and subtract that number from the total monthly amount that is withheld to pay for taxes.
       Do not include real estate, sales, or use taxes.                                                                               $      929.37
   17. Involuntary deductions: The total monthly payroll deductions that your job requires, such as retirement
       contributions, union dues, and uniform costs.
       Do not include amounts that are not required by your job, such as voluntary 401(k) contributions or payroll savings.           $          0.00
   18. Life Insurance: The total monthly premiums that you pay for your own term life insurance. If two married people are
       filing together, include payments that you make for your spouse's term life insurance.
       Do not include premiums for life insurance on your dependents, for a non-filing spouse's life insurance, or for any form
       of life insurance other than term.                                                                                             $       33.80
   19. Court-ordered payments: The total monthly amount that you pay as required by the order of a court or
       administrative agency, such as spousal or child support payments.
       Do not include payments on past due obligations for spousal or child support. You will list these obligations in line 35.      $          0.00
   20. Education: The total monthly amount that you pay for education that is either required:
              as a condition for your job, or
              for your physically or mentally challenged dependent child if no public education is available for similar services.    $          0.00
   21. Childcare: The total monthly amount that you pay for childcare, such as babysitting, daycare, nursery, and preschool.
       Do not include payments for any elementary or secondary school education.                                                      $          0.00
   22. Additional health care expenses, excluding insurance costs: The monthly amount that you pay for health care
       that is required for the health and welfare of you or your dependents and that is not reimbursed by insurance or paid
       by a health savings account. Include only the amount that is more than the total entered in line 7.
       Payments for health insurance or health savings accounts should be listed only in line 25.                                     $          0.00
   23. Optional telephone and telephone services: The total monthly amount that you pay for telecommunication services
       for you and your dependents, such as pagers, call waiting, caller identification, special long distance, or business cell
       phone service, to the extent necessary for your health and welfare or that of your dependents or for the production of
       income, if it is not reimbursed by your employer.
       Do not include payments for basic home telephone, internet and cell phone service. Do not include self-employment
       expenses, such as those reported on line 5 of Official Form 122C-1, or any amount you previously deducted.                    +$          0.00

   24. Add all of the expenses allowed under the IRS expense allowances.                                                             $    4,309.94
       Add lines 6 through 23.
   Additional Expense Deductions                These are additional deductions allowed by the Means Test.
                                                Note: Do not include any expense allowances listed in lines 6-24.

   25. Health insurance, disability insurance, and health savings account expenses. The monthly expenses for health
       insurance, disability insurance, and health savings accounts that are reasonably necessary for yourself, your spouse, or
       your dependents.
           Health insurance                                            $         238.68
           Disability insurance                                        $            0.00
           Health savings account                                    +$             0.00

           Total                                                           $       238.68       Copy total here=>                    $       238.68


           Do you actually spend this total amount?
                  No. How much do you actually spend?
                   Yes                                                     $

   26. Continuing contributions to the care of household or family members. The actual monthly expenses that you will
       continue to pay for the reasonable and necessary care and support of an elderly, chronically ill, or disabled member of
       your household or member of your immediate family who is unable to pay for such expenses. These expenses may
       include contributions to an account of a qualified ABLE program. 26 U.S.C. § 529A(b)                                           $          0.00
   27. Protection against family violence. The reasonably necessary monthly expenses that you incur to maintain the
       safety of you and your family under the Family Violence Prevention and Services Act or other federal laws that apply.
           By law, the court must keep the nature of these expenses confidential.                                                     $          0.00


Official Form 122C-2                                   Chapter 13 Calculation of Your Disposable Income                                       page 4



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   28. Additional home energy costs. Your home energy costs are included in your insurance and operating expenses on
       line 8.
           If you believe that you have home energy costs that are more than the home energy costs included in expenses on line
           8, then fill in the excess amount of home energy costs
           You must give your case trustee documentation of your actual expenses, and you must show that the additional
           amount claimed is reasonable and necessary.                                                                                     $              0.00
   29. Education expenses for dependent children who are younger than 18. The monthly expenses (not more than
       $189.58* per child) that you pay for your dependent children who are younger than 18 years old to attend a private or
       public elementary or secondary school.
           You must give your case trustee documentation of your actual expenses, and you must explain why the amount
           claimed is reasonable and necessary and not already accounted for in lines 6-23.
           * Subject to adjustment on 4/01/25, and every 3 years after that for cases begun on or after the date of adjustment.            $              0.00
   30. Additional food and clothing expense. The monthly amount by which your actual food and clothing expenses are
       higher than the combined food and clothing allowances in the IRS National Standards. That amount cannot be more
       than 5% of the food and clothing allowances in the IRS National Standards.
           To find a chart showing the maximum additional allowance, go online using the link specified in the separate
           instructions for this form. This chart may also be available at the bankruptcy clerk's office.
           You must show that the additional amount claimed is reasonable and necessary.                                                   $              0.00
   31. Continuing charitable contributions. The amount that you will continue to contribute in the form of cash or financial
       instruments to a religious or charitable organization. 11 U.S.C. § 548(d)(3) and (4).
           Do not include any amount more than 15% of your gross monthly income.                                                           $              0.00

   32. Add all of the additional expense deductions.                                                                                       $         238.68
       Add lines 25 through 31.

   Deductions for Debt Payment

   33. For debts that are secured by an interest in property that you own, including home mortgages, vehicle
       loans, and other secured debt, fill in lines 33a through 33e.
         To calculate the total average monthly payment, add all amounts that are contractually due to each secured
         creditor in the 60 months after you file for bankruptcy. Then divide by 60.
             Mortgages on your home                                                                                                    Average monthly
                                                                                                                                       payment
   33a.      Copy line 9b here                                                                                                    =>   $           1,341.00
             Loans on your first two vehicles
   33b.      Copy line 13b here                                                                                                   =>   $            511.20
   33c.      Copy line 13e here                                                                                                   =>   $            373.03
   33d.      List other secured debts:
   Name of each creditor for other secured debt          Identify property that secures the debt                     Does payment
                                                                                                                     include taxes
                                                                                                                     or insurance?

            Alabama Power - Smart                                                                                           No
            Financing                                    HVAC financed with AL Power                                        Yes        $            133.33

                                                         Laptop financed through Conn's Home                                No
            Conn's HomePlus                              Plus                                                               Yes        $             21.93

                                                         Refrigerator financed with Conn's Home                             No
            Conn's HomePlus                              Plus                                                               Yes        $             66.00


                                                                                                                                  Copy
                                                                                                                                  total
   33e      Total average monthly payment. Add lines 33a through 33d                                   $           2,446.49       here=>       $    2,446.49




Official Form 122C-2                                Chapter 13 Calculation of Your Disposable Income                                                    page 5



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Debtor 2      Laura Gibson Puttonen                                                                                    Case number (if known)

   34. Are any debts that you listed in line 33 secured by your primary residence, a vehicle,
       or other property necessary for your support or the support of your dependents?
              No.      Go to line 35.
              Yes. State any amount that you must pay to a creditor, in addition to the payments
                   listed in line 33, to keep possession of your property (called the cure amount).
                   Next, divide by 60 and fill in the information below.
    Name of the creditor                                         Identify property that secures the debt                    Total cure amount                  Monthly cure
                                                                                                                                                               amount
                                                                 2014 Toyota Tundra Limited 165,082
    Credit Acceptance                                            miles                                                  $               1,704.00 ÷ 60 = $                      28.40
                                                                 2015 Nissan Pathfinder SL 124,335
    Credit Acceptance                                            miles                                                  $               1,178.00 ÷ 60 = $                      19.63
                                                                 370 Rushing Springs Rd. Lincoln, AL
    Family Savings Credit Union                                  35096 Talladega County                                 $               2,363.00 ÷ 60 = $                      39.38
                                                                 370 Rushing Springs Rd. Lincoln, AL
    PHH Mortgage                                                 35096 Talladega County                                 $               2,247.00 ÷ 60 = $                      37.45

                                                                                                                                                          Copy
                                                                                                                                                          total
                                                                                                                Total $                     124.86        here=>          $      124.86

   35. Do you owe any priority claims - such as a priority tax, child support, or alimony - that
       are past due as of the filing date of your bankruptcy case? 11 U.S.C. § 507.

              No.      Go to line 36.
              Yes. Fill in the total amount of all of these priority claims. Do not include current or
                   ongoing priority claims, such as those you listed in line 19.
                         Total amount of all past-due priority claims                                                       $             2,771.00         ÷ 60       $           46.18
   36. Projected monthly Chapter 13 plan payment                                                                            $
       Current multiplier for your district as stated on the list issued by the Administrative
       Office of the United States Courts (for districts in Alabama and North Carolina) or by
       the Executive Office for United States Trustees (for all other districts).                                           X
       To find a list of district multipliers that includes your district, go online using the link specified in the
       separate instructions for this form. This list may also be available at the bankruptcy clerk's office.
                                                                                                                                                        Copy total
       Average monthly administrative expense                                                                                   $                       here=> $



   37. Add all of the deductions for debt payment. Add lines 33e through 36.                                                                                          $       2,617.53


   Total Deductions from Income

   38. Add all of the allowed deductions.
           Copy line 24, All of the expenses allowed under IRS
           expense allowances                                                                      $        4,309.94
           Copy line 32, All of the additional expense deductions                                  $           238.68
           Copy line 37, All of the deductions for debt payment                                   +$        2,617.53


           Total deductions....................................................................    $        7,166.15                Copy total here=>             $             7,166.15




Official Form 122C-2                                                 Chapter 13 Calculation of Your Disposable Income                                                             page 6



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Debtor 2    Laura Gibson Puttonen                                                               Case number (if known)



Part 2:      Determine Your Disposable Income Under 11 U.S.C. § 1325(b)(2)

   39. Copy your total current monthly income from line 14 of Form 122C-1, Chapter 13
       Statement of Your Current Monthly Income and Calculation of Commitment Period.                                        $                   6,637.06
   40. Fill in any reasonably necessary income you receive for support for dependent
       children. The monthly average of any child support payments, foster care payments, or
       disability payments for a dependent child, reported in Part I of Form 122C-1, that you
       received in accordance with applicable nonbankruptcy law to the extent reasonably
       necessary to be expended for such child.                                                         $                 0.00
   41. Fill in all qualified retirement deductions. The monthly total of all amounts that your
       employer withheld from wages as contributions for qualified retirement plans, as specified
       in 11 U.S.C. § 541(b)(7) plus all required repayments of loans from retirement plans, as
       specified in 11 U.S.C. § 362(b)(19).                                                             $                 0.00
   42. Total of all deductions allowed under 11 U.S.C. § 707(b)(2)(A). Copy line 38 here          =>    $            7,166.15
   43. Deduction for special circumstances. If special circumstances justify additional
       expenses and you have no reasonable alternative, describe the special circumstances and
       their expenses. You must give your case trustee a detailed explanation of the special
       circumstances and documentation for the expenses.

   Describe the special circumstances                                              Amount of expense

                                                                               $

                                                                               $

                                                                               $

                                                                                                       Copy
                                                                    Total $                0.00        here=> $                  0.00


                                                                                                                            Copy
   44. Total adjustments. Add lines 40 through 43.                                         =>      $          7,166.15      here=> -$            7,166.15


   45. Calculate your monthly disposable income under § 1325(b)(2). Subtract line 44 from line 39.                               $              -529.09


Part 3:      Change in Income or Expenses

   46. Change in income or expenses. If the income in Form 122C-1 or the expenses you reported in this form
       have changed or are virtually certain to change after the date you filed your bankruptcy petition and during the
       time your case will be open, fill in the information below. For example, if the wages reported increased after
       you filed your petition, check 122C-1 in the first column, enter line 2 in the second column, explain why the
       wages increased, fill in when the increase occurred, and fill in the amount of the increase.

   Form          Line         Reason for change                                     Date of change          Increase or      Amount of change
                                                                                                            decrease?
      122C-1                                                                                                   Increase
      122C-2                                                                                                   Decrease      $
      122C-1                                                                                                   Increase
      122C-2                                                                                                   Decrease      $
      122C-1                                                                                                   Increase
      122C-2                                                                                                   Decrease      $
      122C-1                                                                                                   Increase
      122C-2                                                                                                   Decrease      $




Official Form 122C-2                              Chapter 13 Calculation of Your Disposable Income                                                page 7



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Debtor 2     Laura Gibson Puttonen                                                               Case number (if known)




Part 4:        Sign Below



           By signing here, under penalty of perjury you declare that the information on this statement and in any attachments is true and correct.


      X /s/ Steven Michael Puttonen                                               X /s/ Laura Gibson Puttonen
            Steven Michael Puttonen                                                  Laura Gibson Puttonen
            Signature of Debtor 1                                                    Signature of Debtor 2
   Date May 15, 2024                                                           Date May 15, 2024
        MM / DD / YYYY                                                              MM / DD / YYYY




Official Form 122C-2                                Chapter 13 Calculation of Your Disposable Income                                              page 8



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                                      Current Monthly Income Details for the Debtor

Debtor Income Details:
Income for the Period 11/01/2023 to 04/30/2024.

Line 2 - Gross wages, salary, tips, bonuses, overtime, commissions
Source of Income: Clayton Homes
Income by Month:
 6 Months Ago:                    11/2023                $4,285.61
 5 Months Ago:                    12/2023                $4,391.69
 4 Months Ago:                    01/2024                $4,751.20
 3 Months Ago:                    02/2024                $3,964.57
 2 Months Ago:                    03/2024                $4,824.45
 Last Month:                      04/2024                $5,555.04
                        Average per month:               $4,628.76




Official Form 122C-2                      Chapter 13 Calculation of Your Disposable Income                       page 9



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                              Current Monthly Income Details for the Debtor's Spouse

Spouse Income Details:
Income for the Period 11/01/2023 to 04/30/2024.

Line 2 - Gross wages, salary, tips, bonuses, overtime, commissions
Source of Income: Sylacauga Alliance for Family
Income by Month:
 6 Months Ago:                    11/2023               $2,767.27
 5 Months Ago:                    12/2023               $5,534.54
 4 Months Ago:                    01/2024                   $0.00
 3 Months Ago:                    02/2024               $1,364.00
 2 Months Ago:                    03/2024               $1,072.00
 Last Month:                      04/2024               $1,312.00
                        Average per month:              $2,008.30




Non-CMI - VA Income
Source of Income: VA Disability
Income by Month:
 6 Months Ago:                    11/2023               $1,486.88
 5 Months Ago:                    12/2023               $1,486.88
 4 Months Ago:                    01/2024               $1,486.88
 3 Months Ago:                    02/2024               $1,486.88
 2 Months Ago:                    03/2024               $1,486.88
 Last Month:                      04/2024               $1,486.88
                        Average per month:              $1,486.88




Official Form 122C-2                     Chapter 13 Calculation of Your Disposable Income                       page 10



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Notice Required by 11 U.S.C. § 342(b) for
Individuals Filing for Bankruptcy (Form 2010)


                                                                                          Chapter 7:         Liquidation
This notice is for you if:
                                                                                                  $245      filing fee
       You are an individual filing for bankruptcy,
       and                                                                                         $78   administrative fee

       Your debts are primarily consumer debts.                                           +        $15   trustee surcharge
       Consumer debts are defined in 11 U.S.C.
       § 101(8) as “incurred by an individual                                                     $338      total fee
       primarily for a personal, family, or
       household purpose.”                                                                Chapter 7 is for individuals who have financial
                                                                                          difficulty preventing them from paying their debts
                                                                                          and who are willing to allow their non-exempt
The types of bankruptcy that are available to                                             property to be used to pay their creditors. The
individuals                                                                               primary purpose of filing under chapter 7 is to have
                                                                                          your debts discharged. The bankruptcy discharge
Individuals who meet the qualifications may file under                                    relieves you after bankruptcy from having to pay
one of four different chapters of Bankruptcy Code:                                        many of your pre-bankruptcy debts. Exceptions exist
                                                                                          for particular debts, and liens on property may still
       Chapter 7 - Liquidation                                                            be enforced after discharge. For example, a creditor
                                                                                          may have the right to foreclose a home mortgage or
       Chapter 11 - Reorganization                                                        repossess an automobile.

       Chapter 12 - Voluntary repayment plan                                              However, if the court finds that you have committed
                  for family farmers or                                                   certain kinds of improper conduct described in the
                  fishermen                                                               Bankruptcy Code, the court may deny your
                                                                                          discharge.
       Chapter 13 - Voluntary repayment plan
                  for individuals with regular                                            You should know that even if you file chapter 7 and
                  income                                                                  you receive a discharge, some debts are not
                                                                                          discharged under the law. Therefore, you may still
                                                                                          be responsible to pay:
You should have an attorney review your
decision to file for bankruptcy and the choice of                                             most taxes;
chapter.
                                                                                              most student loans;

                                                                                              domestic support and property settlement
                                                                                              obligations;




Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                                   page 1



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       most fines, penalties, forfeitures, and criminal                                   your income is more than the median income for your
       restitution obligations; and                                                       state of residence and family size, depending on the
                                                                                          results of the Means Test, the U.S. trustee, bankruptcy
       certain debts that are not listed in your bankruptcy                               administrator, or creditors can file a motion to dismiss
       papers.                                                                            your case under § 707(b) of the Bankruptcy Code. If a
                                                                                          motion is filed, the court will decide if your case should
You may also be required to pay debts arising from:                                       be dismissed. To avoid dismissal, you may choose to
                                                                                          proceed under another chapter of the Bankruptcy
       fraud or theft;                                                                    Code.

       fraud or defalcation while acting in breach of                                     If you are an individual filing for chapter 7 bankruptcy,
       fiduciary capacity;                                                                the trustee may sell your property to pay your debts,
                                                                                          subject to your right to exempt the property or a portion
       intentional injuries that you inflicted; and                                       of the proceeds from the sale of the property. The
                                                                                          property, and the proceeds from property that your
       death or personal injury caused by operating a                                     bankruptcy trustee sells or liquidates that you are
       motor vehicle, vessel, or aircraft while intoxicated                               entitled to, is called exempt property. Exemptions may
       from alcohol or drugs.                                                             enable you to keep your home, a car, clothing, and
                                                                                          household items or to receive some of the proceeds if
If your debts are primarily consumer debts, the court                                     the property is sold.
can dismiss your chapter 7 case if it finds that you have
enough income to repay creditors a certain amount.                                        Exemptions are not automatic. To exempt property,
You must file Chapter 7 Statement of Your Current                                         you must list it on Schedule C: The Property You Claim
Monthly Income (Official Form 122A–1) if you are an                                       as Exempt (Official Form 106C). If you do not list the
individual filing for bankruptcy under chapter 7. This                                    property, the trustee may sell it and pay all of the
form will determine your current monthly income and                                       proceeds to your creditors.
compare whether your income is more than the median
income that applies in your state.

If your income is not above the median for your state,
you will not have to complete the other chapter 7 form,                                   Chapter 11: Reorganization
the Chapter 7 Means Test Calculation (Official Form
122A–2).
                                                                                                      $1,167    filing fee
If your income is above the median for your state, you
must file a second form —the Chapter 7 Means Test                                            +           $571    administrative fee
Calculation (Official Form 122A–2). The calculations on
                                                                                                      $1,738    total fee
the form— sometimes called the Means Test—deduct
from your income living expenses and payments on
                                                                                          Chapter 11 is often used for reorganizing a business,
certain debts to determine any amount available to pay
                                                                                          but is also available to individuals. The provisions of
unsecured creditors. If
                                                                                          chapter 11 are too complicated to summarize briefly.




Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                                         page 2



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       Read These Important Warnings

           Because bankruptcy can have serious long-term financial and legal consequences, including loss of
           your property, you should hire an attorney and carefully consider all of your options before you file.
           Only an attorney can give you legal advice about what can happen as a result of filing for bankruptcy
           and what your options are. If you do file for bankruptcy, an attorney can help you fill out the forms
           properly and protect you, your family, your home, and your possessions.

           Although the law allows you to represent yourself in bankruptcy court, you should understand that
           many people find it difficult to represent themselves successfully. The rules are technical, and a mistake
           or inaction may harm you. If you file without an attorney, you are still responsible for knowing and
           following all of the legal requirements.

           You should not file for bankruptcy if you are not eligible to file or if you do not intend to file the
           necessary documents.

           Bankruptcy fraud is a serious crime; you could be fined and imprisoned if you commit fraud in your
           bankruptcy case. Making a false statement, concealing property, or obtaining money or property by
           fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to
           20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                                                                                          Under chapter 13, you must file with the court a plan
Chapter 12: Repayment plan for family                                                     to repay your creditors all or part of the money that
            farmers or fishermen                                                          you owe them, usually using your future earnings. If
                                                                                          the court approves your plan, the court will allow you
                                                                                          to repay your debts, as adjusted by the plan, within 3
                 $200     filing fee                                                      years or 5 years, depending on your income and other
+                 $78     administrative fee                                              factors.
                 $278     total fee
                                                                                          After you make all the payments under your plan,
Similar to chapter 13, chapter 12 permits family farmers                                  many of your debts are discharged. The debts that are
and fishermen to repay their debts over a period of time                                  not discharged and that you may still be responsible to
using future earnings and to discharge some debts that                                    pay include:
are not paid.
                                                                                                 domestic support obligations,

                                                                                                 most student loans,
Chapter 13: Repayment plan for
            individuals with regular                                                             certain taxes,
            income
                                                                                                 debts for fraud or theft,

                 $235     filing fee                                                             debts for fraud or defalcation while acting in a
+                 $78     administrative fee                                                     fiduciary capacity,
                 $313     total fee
                                                                                                 most criminal fines and restitution obligations,
Chapter 13 is for individuals who have regular income
and would like to pay all or part of their debts in                                              certain debts that are not listed in your
installments over a period of time and to discharge                                              bankruptcy papers,
some debts that are not paid. You are eligible for
chapter 13 only if your debts are not more than certain                                          certain debts for acts that caused death or
dollar amounts set forth in 11 U.S.C. § 109.                                                     personal injury, and

                                                                                                 certain long-term secured debts.




Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                                        page 3



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                                                                                          A married couple may file a bankruptcy case
             Warning: File Your Forms on Time                                             together—called a joint case. If you file a joint case and
                                                                                          each spouse lists the same mailing address on the
Section 521(a)(1) of the Bankruptcy Code requires that                                    bankruptcy petition, the bankruptcy court generally will
you promptly file detailed information about your                                         mail you and your spouse one copy of each notice,
creditors, assets, liabilities, income, expenses and                                      unless you file a statement with the court asking that
general financial condition. The court may dismiss your                                   each spouse receive separate copies.
bankruptcy case if you do not file this information within
the deadlines set by the Bankruptcy Code, the                                             Understand which services you could receive from
Bankruptcy Rules, and the local rules of the court.                                       credit counseling agencies

For more information about the documents and                                              The law generally requires that you receive a credit
their deadlines, go to:                                                                   counseling briefing from an approved credit counseling
http://www.uscourts.gov/forms/bankruptcy-forms                                            agency. 11 U.S.C. § 109(h). If you are filing a joint
                                                                                          case, both spouses must receive the briefing. With
                                                                                          limited exceptions, you must receive it within the 180
Bankruptcy crimes have serious consequences                                               days before you file your bankruptcy petition. This
                                                                                          briefing is usually conducted by telephone or on the
       If you knowingly and fraudulently conceal assets                                   Internet.
       or make a false oath or statement under penalty
       of perjury—either orally or in writing—in                                          In addition, after filing a bankruptcy case, you generally
       connection with a bankruptcy case, you may be                                      must complete a financial management instructional
       fined, imprisoned, or both.                                                        course before you can receive a discharge. If you are
                                                                                          filing a joint case, both spouses must complete the
       All information you supply in connection with a                                    course.
       bankruptcy case is subject to examination by the
       Attorney General acting through the Office of the                                  You can obtain the list of agencies approved to provide
       U.S. Trustee, the Office of the U.S. Attorney, and                                 both the briefing and the instructional course from:
       other offices and employees of the U.S.                                            http://www.uscourts.gov/services-forms/bankruptcy/cre
       Department of Justice.                                                             dit-counseling-and-debtor-education-courses.

Make sure the court has your mailing address                                              In Alabama and North Carolina, go to:
                                                                                          http://www.uscourts.gov/services-forms/bankruptcy/cre
The bankruptcy court sends notices to the mailing                                         dit-counseling-and-debtor-education-courses.
address you list on Voluntary Petition for Individuals
Filing for Bankruptcy (Official Form 101). To ensure                                      If you do not have access to a computer, the clerk of
that you receive information about your case,                                             the bankruptcy court may be able to help you obtain
Bankruptcy Rule 4002 requires that you notify the court                                   the list.
of any changes in your address.




Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                                        page 4



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B2030 (Form 2030) (12/15)
                                                        United States Bankruptcy Court
                                                Northern District of Alabama, Eastern Division
             Steven Michael Puttonen
 In re       Laura Gibson Puttonen                                                                            Case No.
                                                                              Debtor(s)                       Chapter       13

                        DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.   Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
     compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
     be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
             For legal services, I have agreed to accept                                                  $                  4,500.00
             Prior to the filing of this statement I have received                                        $                      88.00
             Balance Due                                                                                  $                  4,412.00

2.   The source of the compensation paid to me was:

                  Debtor             Other (specify):

3.   The source of compensation to be paid to me is:

                  Debtor             Other (specify):

4.          I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

            I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
            copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

5.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

     a. Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
     b. Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
     c. Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
     d. [Other provisions as needed]


6.   By agreement with the debtor(s), the above-disclosed fee does not include the following service:
             Representation of the debtors in any dischargeability actions, judicial lien avoidances, relief from stay actions or
             any other adversary proceeding.
                                                                     CERTIFICATION
      I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
this bankruptcy proceeding.

     May 15, 2024                                                             /s/ Carla M. Handy
     Date                                                                     Carla M. Handy
                                                                              Signature of Attorney
                                                                              Bond, Botes & Handy, P.C.
                                                                              430-B Chestnut Street
                                                                              Gadsden, AL 35901-4213
                                                                              256-485-0195 Fax: 256-485-0169
                                                                              btaylor@bondandbotes.com
                                                                              Name of law firm




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                                              United States Bankruptcy Court
                                        Northern District of Alabama, Eastern Division
          Steven Michael Puttonen
 In re    Laura Gibson Puttonen                                                                Case No.
                                                                   Debtor(s)                   Chapter     13




                                  VERIFICATION OF CREDITOR MATRIX


The above-named Debtors hereby verify that the attached list of creditors is true and correct to the best of their knowledge.



Date: May 15, 2024                                     /s/ Steven Michael Puttonen
                                                       Steven Michael Puttonen
                                                       Signature of Debtor

Date: May 15, 2024                                     /s/ Laura Gibson Puttonen
                                                       Laura Gibson Puttonen
                                                       Signature of Debtor




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Alabama Power - Smart Financing             Aspire Credit Card                        First Premier Bank
Attn: Bankruptcy                            c/o Jefferson Capital Systems, LLC        3820 N Louise Ave
600 North 18th St.                          200 14th Ave E                            Sioux Falls, SD 57107
Birmingham, AL 35203                        Sartell, MN 56377



Conn's HomePlus                             Capital One                               First Savings Bank/Blaze
2445 Technology Forest Boulevard            Attn: Bankruptcy                          c/o Sequium Asset Solutions
Building 4, Suite 800                       PO Box 30285                              1130 North Chase Pkwy SE, STE 15
The Woodlands, TX 77381                     Salt Lake City, UT 84130                  Marietta, GA 30067



Credit Acceptance                           Capital One N.A.                          Gulfco of AL Llc
Attn: Bankruptcy                            c/o The Bureaus Inc                       dba Tower Loan of Pell City
25505 West 12 Mile Road Ste 3000            650 Dundee Rd, Ste 370                    PO Box 320001
Southfield, MI 48034                        Northbrook, IL 60062                      Flowood, MS 39232



Family Savings Credit Union                 Citibank/Shell Oil                        Hargray Communications Pell City
Attn: Bankruptcy                            Citicorp Cr Srvs/Centralized Bankruptcy   c/o Carter-Young
711 E. Meighan Blvd                         PO Box 790040                             120 2nd St, 2nd Floor
Gadsden, AL 35903                           St Louis, MO 63179                        Monroe, GA 30655



PHH Mortgage                                Coastal/Prosper                           LVNV Funding
PO Box 5452                                 Attn: Bankruptcy Dept                     c/o Resurgent Capital Services
Mt Laurel, NJ 08054                         221 Main Street, Ste 400                  PO Box 10497
                                            San Francisco, CA 94105                   Greenville, SC 29603



Alabama Department Of Revenue               Credit Central                            LVNV Funding
Legal Division                              Attn: Bankruptcy                          c/o Resurgent Capital
P.O. Box 320001                             700 East North St, Ste 15                 PO Box 10497
Montgomery, AL 36132-0001                   Greenville, SC 29604                      Greenville, SC 29603



Internal Revenue Service                    Credit One Bank N.A./LVNV Funding         Merrick Bank Corp
Centralized Insolvency Operations           c/o Resurgent Capital                     PO Box 9201
P.O. Box 7346                               PO Box 10497                              Old Bethpage, NY 11804
Philadelphia, PA 19101-7346                 Greenville, SC 29603



Aarons                                      Credit One Bank N.A./LVNV Funding         Mission Lane LLC
Attn: Bankruptcy                            c/o Resurgent Capital Services            Attn: Bankruptcy
503 Martin St. N                            PO Box 10497                              P.O. Box 105286
Pell City, AL 35125                         Greenville, SC 29603                      Atlanta, GA 30348



Affirm, Inc.                                First Electronic Bank                     Navy Federal Credit Union
Attn: Bankruptcy                            c/o Midland Credit Management             Attn: Bankruptcy
650 California St, Fl 12                    PO Box 939069                             PO Box 3000
San Francisco, CA 94108                     San Diego, CA 92193                       Merrifield, VA 22119


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New Castle Superior Court                   The Bank of Missouri
Attn: Bankruptcy                            c/o Midland Credit Management
500 N King St.                              PO Box 939069
Wilmington, DE 19801                        San Diego, CA 92193



Opportunity Financial, LLC                  Western Sizzlin Steakhouse & Buffet
130 East Randolph Street, Ste 3400          Attn: Bankruptcy
Chicago, IL 60601                           200 Hamric Dr. E
                                            Oxford, AL 36203



Republic Finance                            World Finance Corp
Attn: Bankruptcy                            Attn: Bankruptcy
7031 Commerce Circle                        P.O. Box 6429
Baton Rouge, LA 70809                       Greenville, SC 29606



Security Finance Co                         Credit Systems International, Inc
Attn: Bankruptcy/Centralized Bank           P.O. Box 1008
PO Box 1893                                 Arlington, TX 76004
Spartanburg, SC 29304



ShopHQ
c/o Oliphant Usa
1800 2nd St., Suite 603
Sarasota, FL 34236



Sunbit Financial
Attn: Bankruptcy
10880 Wilshire Blv Suite 870
Los Angeles, CA 90024



Surge Celtic Bank/LVNV Funding
c/o Resurgent Capital Services
PO Box 10497
Greenville, SC 29603



Synchrony Bank
c/o Portfolio Recovery Associates, LLC
120 Corporate Boulevard
Norfolk, VA 23502



Synchrony Bank/ShopNBC
Attn: Bankruptcy
PO Box 965060
Orlando, FL 32896


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